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               13
                                        UNITED STATES DISTRICT COURT
               14
                                       CENTRAL DISTRICT OF CALIFORNIA
               15
                                             WESTERN DIVISION
               16
                    ABKCO MUSIC, INC.; BIG MACHINE           CASE NO.
               17   MUSIC, LLC; BOOSEY & HAWKES,
                    INC.; CHERIO CORPORATION;                COMPLAINT FOR DIRECT
               18   CONCORD MUSIC PUBLISHING LLC,;           COPYRIGHT INFRINGEMENT,
                    CONCORD MUSIC GROUP, INC.;               CONTRIBUTORY COPYRIGHT
               19   DOWNTOWN MUSIC PUBLISHING                INFRINGEMENT, AND
                    LLC; HIPGNOSIS SFH I LIMITED;            VICARIOUS COPYRIGHT
               20   HIPGNOSIS SONGS GROUP, LLC;              INFRINGEMENT
                    KOBALT MUSIC PUBLISHING
               21   AMERICA, INC.; MPL                       DEMAND FOR JURY TRIAL
                    COMMUNICATIONS, INC.; MPL MUSIC
               22   PUBLISHING, INC.; PANTHER MUSIC
                    CORP.; PEER INTERNATIONAL
               23   CORPORATION; PEERMUSIC LTD.;
                    PEERMUSIC III, LTD.; POLYGRAM
               24   PUBLISHING, INC.; RODGERS &
                    HAMMERSTEIN HOLDINGS LLC;
               25   PULSE 2.0, LLC; RESERVOIR MEDIA
                    MANAGEMENT, INC.; SONGS OF
               26   PEER, LTD.; SONGS OF UNIVERSAL,
                    INC.; SOUTHERN MUSIC PUBLISHING
               27   CO., INC.; SPIRIT MUSIC HOLDINGS,
                    INC.; UNIVERSAL MUSIC – MGB NA
  Mitchell     28   LLC; UNIVERSAL MUSIC – Z TUNES
Silberberg &        LLC; UNIVERSAL MUSIC CORP.;
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                  1 UNIVERSAL MUSIC PUBLISHING,
                    INC.; UNIVERSAL MUSICA, INC.,
                  2
                              Plaintiffs,
                  3
                          v.
                  4
                    ROBLOX CORPORATION,
                  5
                              Defendant.
                  6
                  7         Plaintiffs ABKCO Music Inc., Big Machine Music, LLC, Boosey &
                  8 Hawkes, Inc., Cherio Corporation, Concord Music Publishing LLC, Concord
                  9 Music Group, Inc., Downtown Music Publishing LLC, Hipgnosis SFH I Limited,
                 10 Hipgnosis Songs Group, LLC, Kobalt Music Publishing America, Inc., MPL
                 11 Communications, Inc., MPL Music Publishing, Inc., Panther Music Corp., Peer
                 12 International Corporation, Peermusic Ltd., Peermusic III, Ltd., Polygram
                 13 Publishing, Inc., Rodgers & Hammerstein Holdings LLC, Pulse 2.0, LLC,
                 14 Reservoir Media Management, Inc., Songs of Peer, Ltd., Songs of Universal, Inc.,
                 15 Southern Music Publishing Co., Inc., Spirit Music Holdings, Inc., Universal Music
                 16 – MGB NA LLC, Universal Music – Z Tunes LLC, Universal Music Corp.,
                 17 Universal Music Publishing, Inc., and Universal Musica, Inc. (collectively,
                 18 “Plaintiffs”), by their attorneys, for their Complaint against Defendant Roblox
                 19 Corporation (“Roblox”), allege on personal knowledge as to matters relating to
                 20 themselves and on information and belief as to all other matters, as set forth below.
                 21                                 NATURE OF CASE
                 22         1.    Plaintiffs are major and independent music publishers that create,
                 23 produce, acquire, license, and otherwise exploit musical compositions, both in the
                 24 United States and internationally. Collectively, Plaintiffs have invested significant
                 25 resources developing, marketing, and licensing countless iconic musical
                 26 compositions and modern hit songs, including, among many others, the music
                 27 catalogs of Imagine Dragons, deadmau5, Ed Sheeran, Ariana Grande, and the
    Mitchell     28 Rolling Stones. Plaintiffs, on behalf of themselves and their representative
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                  1 songwriters, bring this action seeking redress for Roblox’s willful copyright
                  2 infringement.
                  3         2.    Roblox owns and operates an online video game platform and game
                  4 creation system marketed specifically to young children and teens. A publicly
                  5 traded company valued at over $55 billion, Roblox has built that value on the
                  6 backs of unpaid music creators, flagrantly disregarding its responsibilities under
                  7 copyright law and systematically committing, encouraging, and inducing the
                  8 infringement of copyrighted musical works on a massive scale, which infringement
                  9 Roblox monetizes for substantial profits.
                 10         3.    Roblox purports to create a “safe” online environment for its users,
                 11 consisting mostly of children under the age of 13.1 In truth, Roblox actively preys
                 12 on its impressionable user base and their desire for popular music, teaching
                 13 children that pirating music is perfectly acceptable.
                 14         4.    Roblox engages in copyright infringement on a massive scale by
                 15 deliberately creating a centralized synchronization (or “sync”) library of unlicensed
                 16 songs to be distributed, streamed, publicly performed, and incorporated into game
                 17 content. In creating this library, Roblox reproduces each song included therein,
                 18 charging users to upload music to be incorporated into their games. Roblox is fully
                 19 aware that it is required to obtain licenses to exploit copyrighted music on its
                 20 platform, including obtaining necessary reproduction, sync, and public
                 21 performance licenses, but willfully refuses to do so. Roblox is taking for itself
                 22 Plaintiffs’ creative and financial investments without permission and without
                 23 compensation, on a platform that earns revenue only for Roblox and its users.
                 24         5.    Roblox is well aware that its platform is built and thrives on the
                 25 availability of copyrighted music. As Jon Vlassopulos, Roblox’s global head of
                 26  See Sec. & Exchange Comm., Form S-1 Registration Statement of Roblox
                      1

                    Corporation, p. 21 (Nov. 19, 2020),
                 27 https://www.sec.gov/Archives/edgar/data/1315098/000119312520298230/d87104d
    Mitchell     28 s1.htm.
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                  1 music, publicly stated just last year: “We want developers to have great music to
                  2 build games. We want the music to be, not production music, but really great
                  3 [commercial] music.”2 (Alteration in original). To that end, Roblox actively
                  4 encourages its users to upload audio files containing copyrighted music and
                  5 incorporate them into game content on the Roblox platform. Roblox advertises the
                  6 importance of music in games and makes it easy for users to upload, share, and
                  7 stream full-length songs.
                  8         6.    For instance, Roblox develops, sells, and endorses game items such as
                  9 “Boomboxes” and “Game Passes” that enable users to listen to music in games,
                 10 and which Roblox expressly promotes with taglines such as “Play the hottest jams
                 11 on ROBLOX all over town.” Such items have spawned a cottage industry of third-
                 12 party websites devoted to indexing and compiling the copyrighted music hosted by
                 13 Roblox to facilitate discovery and sharing of “the hottest jams.”
                 14         7.    Critically, Roblox deliberately charges users for, and profits from,
                 15 every song that a user uploads to Roblox’s unlicensed library. In turn, Roblox
                 16 allows its users the option of advertising and charging others for access to a variety
                 17 of other items, including items specifically developed for playing copyrighted
                 18 music, such as Boomboxes and Game Passes, and games that feature popular
                 19 songs, and takes a commission on every transaction. By utilizing “Robux,” the
                 20 virtual currency that users must purchase from Roblox to upload music, Roblox
                 21 has created a thriving business and economy directly and consciously built on
                 22 infringement. Roblox’s clear goal is to incentivize its users to upload popular hits
                 23 and sought-after songs. Indeed, Roblox admitted in a recent disclosure filing that
                 24
                 25
                 26  See Stuart Dredge, Roblox Head of Music Tells Labels and Artists: ‘We’re open
                      2

                    for business!’, Musically (July 23, 2020),
                 27 https://musically.com/2020/07/23/roblox-head-of-music-tells-labels-and-artists-
    Mitchell     28 were-open-for-business.
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                  1 “[w]e primarily generate revenue through the Roblox Platform, based on the direct
                  2 sale of Robux to users.” 3
                  3         8.     By offering access to the copyrighted content that users pay to upload,
                  4 Roblox drives a tremendous and growing number of users to its service. Roblox
                  5 currently averages 36.2 million active users per day, with a total user base of over
                  6 200 million. The availability of unlicensed popular music (such as that of
                  7 Plaintiffs) on Roblox not only attracts paying users—it retains them. Users
                  8 regularly report that the availability of music on Roblox is what keeps them
                  9 coming back, including one user who reported that Roblox was their “favorite
                 10 music game ever!!!!!!!”:
                 11
                 12
                 13
                 14
                 15
                 16
                 17
                 18
                            9.     There is no question that Roblox has the right and ability to stop or
                 19
                      limit the infringement on its platform. But Roblox refuses to do so, so that it can
                 20
                      continue to reap huge profits from the availability of unlicensed music. While
                 21
                      Roblox touts itself as a platform for “user-generated” content, in reality, it is
                 22
                      Roblox—not users—that consciously selects what content appears on its platform.
                 23
                      Roblox is highly selective about what content it publishes, employing over a
                 24
                      thousand human moderators to extensively pre-screen and review each and
                 25
                 26
                    3
                      See Sec. & Exchange Comm., Form S-1 Registration Statement of Roblox
                 27 Corporation, p. 113 (Nov. 19, 2020),
    Mitchell        https://www.sec.gov/Archives/edgar/data/1315098/000119312520298230/d87104d
                 28 s1.htm.
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                  1 every audio file uploaded. Roblox’s intimate review process includes review of
                  2 every piece of copyrighted music, generally identified by title and artist—to ensure
                  3 that it meets Roblox’s stringent and detailed content guidelines and community
                  4 rules. This process ensures that Roblox plays an integral role in monitoring and
                  5 regulating the online behavior of its young users.
                  6         10.   Roblox thus unquestionably exercises substantial influence over its
                  7 users and the content on its platform, ostensibly in the name of “safety.” Yet
                  8 Roblox allows a prodigious level of infringing material through its gates, purposely
                  9 turning a blind eye for the sake of profits. Rather than take responsibility, Roblox
                 10 absurdly attempts to pass the obligation to its users—many of whom are young
                 11 children—to represent to Roblox that they own the copyrights to the works they
                 12 have uploaded.
                 13         11.   It is anticipated that Roblox will try to seek cover behind certain legal
                 14 protections that Congress afforded only to “innocent” qualifying service providers.
                 15 Roblox’s business model and operations demonstrate that it is a clear bad actor
                 16 however, that can never qualify for such protections. Further demonstrating its
                 17 complete indifference to copyright law, Roblox claims on its website that it has
                 18 engaged an agent to whom copyright holders may send notices of infringement;
                 19 however, Roblox has failed to register an agent with the Copyright Office.
                 20 Similarly, contrary to its claims, Roblox has never reasonably implemented a
                 21 policy to terminate users engaging in repeat and egregious acts of infringement.
                 22 Simply put, Roblox’s unlawful and infringing conduct is rampant and deliberate,
                 23 and it cannot hide behind its customer base of children and young adults as an
                 24 excuse for such conduct.
                 25         12.   Roblox’s unauthorized use of Plaintiffs’ copyrighted works has
                 26 caused, and continues to cause, Plaintiffs significant and irreparable harm.
                 27 Through its conduct, Roblox is liable for the direct infringement of Plaintiffs’
    Mitchell     28 exclusive rights under copyright law to reproduce, adapt, distribute, and publicly
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                  1 perform their works. Roblox is also liable for the infringing acts of its users under
                  2 established theories of contributory and vicarious infringement. Furthermore,
                  3 because Roblox actively selects and stands behind the content on its platform, all
                  4 of the infringement on the platform occurs by reason of Roblox’s own volitional
                  5 involvement in the infringement.
                  6                            JURISDICTION AND VENUE
                  7         13.   This is a civil action in which Plaintiffs seek damages and injunctive
                  8 relief for copyright infringement under the Copyright Act, 17 U.S.C. § 101, et seq.
                  9         14.   This Court has original subject matter jurisdiction over Plaintiffs’
                 10 copyright infringement claims pursuant to 28 U.S.C. § 1331 and 1338(a).
                 11         15.   This Court has personal jurisdiction over Roblox because Roblox
                 12 maintains its principal place of business within California and because Roblox
                 13 conducts systematic and continuous business in California. This Court also has
                 14 personal jurisdiction over Roblox because Roblox has committed a substantial part
                 15 of the acts of infringement alleged in the Complaint within this district.
                 16         16.   Venue is proper in this district under 28 U.S.C. § 1391 (b) and (c) and
                 17 § 1400(a) because a substantial part of the acts of infringement, and other events
                 18 and omissions complained of herein occur, or have occurred, in this district, and
                 19 this is a district in which Roblox resides or may be found.
                 20                                    THE PARTIES
                 21 ABKCO
                 22         17.   Plaintiff ABKCO Music, Inc. (“ABKCO”) is a New York corporation
                 23 with its principal place of business in New York.
                 24 Big Machine
                 25         18.   Plaintiff Big Machine Music, LLC (“Big Machine”) is a Delaware
                 26 limited liability company with its principal place of business in Tennessee.
                 27
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                  1 Concord Music
                  2         19.   Plaintiff Boosey & Hawkes, Inc. is a New York corporation with its
                  3 principal place of business in New York.
                  4         20.   Plaintiff Concord Music Group, Inc. is a Delaware corporation with
                  5 its principal place of business in Tennessee.
                  6         21.   Plaintiff Concord Music Publishing LLC is a Delaware limited
                  7 liability company with its principal place of business in Tennessee.
                  8         22.   Plaintiff Pulse 2.0, LLC is a Delaware limited liability company with
                  9 its principal place of business in California.
                 10         23.   Plaintiff Rodgers & Hammerstein Holdings LLC is a Delaware
                 11 limited liability company with its principal place of business in New York.
                 12         24.   Plaintiffs Boosey & Hawkes, Inc., Concord Music Group, Inc.,
                 13 Concord Music Publishing LLC, Pulse 2.0, LLC, and Rodgers & Hammerstein
                 14 Holdings LLC are referred to herein collectively as “Concord Music.”
                 15 Downtown
                 16         25.   Plaintiff Downtown Music Publishing LLC (“Downtown”) is a
                 17 Delaware limited liability company with its principal place of business in New
                 18 York.
                 19 Hipgnosis
                 20         26.   Plaintiff Hipgnosis Songs Group, LLC is a Delaware limited liability
                 21 company with its principal place of business in California.
                 22         27.   Plaintiff Hipgnosis SFH I Limited is a company organized under the
                 23 laws of England and Wales.
                 24         28.   Plaintiffs Hipgnosis Songs Group, LLC and Hipgnosis SFH I Limited
                 25 are referred to herein collectively as “Hipgnosis.”
                 26 Kobalt
                 27         29.   Plaintiff Kobalt Music Publishing America, Inc. (“Kobalt”) is a
    Mitchell     28 Delaware corporation with its principal place of business in New York.
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                  1 MPL
                  2         30.   Plaintiff Cherio Corporation is a New York corporation with its
                  3 principal place of business in New York.
                  4         31.   Plaintiff MPL Communications, Inc. is a New York corporation with
                  5 its principal place of business in New York.
                  6         32.   Plaintiff MPL Music Publishing, Inc. is a Delaware corporation with
                  7 its principal place of business in New York.
                  8         33.   Plaintiffs Cherio Corporation, MPL Communications, Inc., and MPL
                  9 Music Publishing, Inc. are referred to herein collectively as “MPL.”
                 10 Peer
                 11         34.   Plaintiff Panther Music Corp. is a New York corporation with its
                 12 principal place of business in New York.
                 13         35.   Plaintiff Peer International Corporation is a New Jersey corporation
                 14 with its principal place of business in New York.
                 15         36.   Plaintiff Songs of Peer, Ltd. is a Delaware corporation with its
                 16 principal place of business in New York.
                 17         37.   Plaintiff Peermusic Ltd. is a New York corporation with its principal
                 18 place of business in New York.
                 19         38.   Plaintiff Southern Music Publishing Co., Inc. is a New York
                 20 corporation with its principal place of business in New York.
                 21         39.   Plaintiff Peermusic III, Ltd. is a Delaware company with its principal
                 22 place of business in New York.
                 23         40.   Plaintiffs Panther Music Corp., Peer International Corporation, Songs
                 24 of Peer, Ltd., PeerMusic Ltd., Southern Music Pub. Co. Inc., and Peermusic III,
                 25 Ltd. are referred to herein collectively as “Peer.”
                 26 Reservoir
                 27         41.   Plaintiff Reservoir Media Management, Inc. (“Reservoir”) is a
    Mitchell     28 Delaware corporation with its principal place of business in New York.
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                  1 Spirit
                  2          42.   Plaintiff Spirit Music Holdings, Inc. (“Spirit”) is a Delaware
                  3 corporation with its principal place of business in New York.
                  4 Universal
                  5          43.   Plaintiff Universal Music Corp. is a Delaware corporation with its
                  6 principal place of business in California.
                  7          44.   Plaintiff Universal Music Publishing, Inc. is a California corporation
                  8 with its principal place of business in California.
                  9          45.   Plaintiff Songs of Universal, Inc. is a California corporation with its
                 10 principal place of business in California.
                 11          46.   Plaintiff Universal Music – MGB NA LLC is a California limited
                 12 liability company with its principal place of business in California.
                 13          47.   Plaintiff Polygram Publishing, Inc. is a Delaware corporation with its
                 14 principal place of business in California.
                 15          48.   Plaintiff Universal Music – Z Tunes LLC is a New York limited
                 16 liability company with its principal place of business in California.
                 17          49.   Plaintiff Universal Musica, Inc. is a Florida corporation with its
                 18 principal place of business in California.
                 19          50.   Plaintiffs Universal Music Corp., Universal Music Publishing, Inc.,
                 20 Songs of Universal, Inc., Universal Music – MGB NA LLC, PolygGram
                 21 Publishing, Inc., Universal Music – Z Tunes LLC, and Universal Musica, Inc. are
                 22 referred to herein collectively as “Universal.”
                 23 Zimmerman
                 24          51.   Plaintiff Joel Thomas Zimmerman p/k/a deadmau5 (“Zimmerman”) is
                 25 an individual domiciled in Ontario, Canada.
                 26 Roblox
                 27          52.   Defendant Roblox is a Delaware corporation with its principal place
    Mitchell     28 of business at 970 Park Place, San Mateo, California 94403. Roblox owns and
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                  1 operates an online platform that features countless musical works for which
                  2 Roblox neither owns nor controls the copyrights, and for which Roblox has not
                  3 obtained the necessary licenses from the copyright owners.
                  4              PLAINTIFFS’ BUSINESSES AND THEIR COPYRIGHTS
                  5        53.    Plaintiffs are highly respected music publishers and songwriters
                  6 and/or their representatives whose music has been exploited on the Roblox
                  7 platform without license or compensation. Each Plaintiff invests substantial
                  8 money, time, effort, and talent to develop, produce, publish, acquire, license, and
                  9 otherwise exploit the copyrights in their musical works.
                 10        54.    Plaintiffs own and/or control in whole or in part the exclusive rights to
                 11 millions of musical works, including the compositions listed on Exhibit A, which
                 12 is illustrative and non-exhaustive. All of the musical works listed on Exhibit A
                 13 have been registered with the U.S. Copyright Office, or are foreign works
                 14 otherwise exempt from the Copyright Act’s registration requirements.
                 15        55.    ABKCO is one of the world’s leading independent music publishers.
                 16 Founded over 60 years ago, ABKCO holds rights in the catalogs of countless
                 17 iconic songwriters, including Sam Cooke (for example, “A Change Is Gonna
                 18 Come,” as recorded by Sam Cooke) and Mick Jagger/Keith Richards (for example,
                 19 “You Can't Always Get What You Want,” as recorded by the Rolling Stones),
                 20 among many others.
                 21        56.    Big Machine represents the publishing side of Big Machine Records,
                 22 an independent music powerhouse based in Nashville. Big Machine holds rights to
                 23 the catalogs of numerous leading country artists, including Luke Combs and Brett
                 24 Young.
                 25        57.    The entities comprising the Concord Music Plaintiffs are part of
                 26 Concord, the independent, worldwide leader in the development, management and
                 27 acquisition of sound recording, music publishing and theatrical performance rights.
    Mitchell     28 The Concord Music Plaintiffs collectively hold rights in over four hundred
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                  1 thousand copyrighted musical works by celebrated songwriters, composers and
                  2 lyricists, spanning nearly two centuries of song, through a vast array of genres,
                  3 including, for example, “7 Rings” (as recorded by Ariana Grande), “Eye of the
                  4 Tiger” (as recorded by Survivor), and “Sicko Mode” (as recorded by Travis Scott).
                  5        58.    Downtown is a global independent rights management and music
                  6 services company that holds rights in nearly 100 years of popular music from
                  7 acclaimed writers and artists.
                  8        59.    The entities comprising Hipgnosis form Hipgnosis Songs Fund, which
                  9 was founded in 2018 and has quickly acquired a vast catalog of hit songs such as
                 10 “Treat You Better” (as recorded by Shawn Mendes).
                 11        60.    Kobalt is one of the world’s largest, most innovative music
                 12 companies. Kobalt holds rights to an extensive roster of songwriters and artists old
                 13 and new.
                 14        61.    The entities comprising MPL make up one of the world’s largest
                 15 privately owned music publishers, covering nearly 100 years of music.
                 16        62.    The entities comprising Peer make up peermusic, which is the largest
                 17 independent music publisher in the world. Founded over 90 years ago, the Peer
                 18 Plaintiffs hold exclusive rights to seminal classic works and contemporary works
                 19 alike, including for example, “Yummy” (as recorded by Justin Bieber), “Firework”
                 20 (as recorded by Katy Perry), and “Mambo No. 5” (as recorded by Lou Bega).
                 21        63.    Reservoir is an independent music company based in New York, with
                 22 offices in Los Angeles, Nashville, London, Toronto, and Abu Dhabi. Reservoir
                 23 holds over 130,000 copyrights to famous musical works, dating back over a
                 24 century, including, for example, “Take Me Home, Country Roads” (as recorded by
                 25 John Denver), “Cry Me a River” (as recorded by Justin Timberlake), and “Candy
                 26 Shop” (as recorded by 50 Cent).
                 27        64.    Spirit is one of the world’s leading independent music publishers.
    Mitchell     28 With a deep catalog spanning seven decades and every musical genre, including
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                  1 “Shape of You” (as recorded by Ed Sheeran), “Holiday” (as recorded by
                  2 Madonna), and “Livin’ La Vida Loca” (as recorded by Ricky Martin), Spirit is a
                  3 tireless promoter of its songs in film, television, and advertising productions, as
                  4 well as a range of new media.
                  5         65.   The entities comprising Universal are part of Universal Music
                  6 Publishing Group, one of the largest music publishers in the world, with rights to
                  7 an extensive music catalog, representing iconic standards and hit pop songs alike,
                  8 including, for example, “Hello” (as recorded by Adele), “Power” (as recorded by
                  9 Kanye West), and “Ain’t No Sunshine” (as recorded by Bill Withers).
                 10         66.   Zimmerman, known professionally as “deadmau5,” is an independent
                 11 award-winning, platinum-selling recording artist, songwriter, music producer, and
                 12 performer, known for writing and producing numerous hit songs, such as
                 13 “Pomegranate” and “Bridged by a Lightwave,” which Zimmerman owns or
                 14 controls in whole or in part.
                 15         67.   Each of the Plaintiffs owns and/or exclusively controls rights set forth
                 16 in 17 U.S.C. § 106 of the Copyright Act with respect to the musical works listed on
                 17 Exhibit A, and many more. Anyone else who wants to exercise these rights must
                 18 obtain a mechanical license to reproduce and distribute the musical works, a sync
                 19 license to release musical works in connection with visual images (such as video
                 20 games), and a performance license to perform these musical works. Roblox has
                 21 neither obtained nor even sought such licenses from Plaintiffs to use their musical
                 22 works.
                 23                             THE ROBLOX PLATFORM
                 24         68.   Roblox owns and operates an online video game platform and game
                 25 creation system, available through the website www.Roblox.com (the “Website”)
                 26 and various downloadable software applications provided in connection therewith.
                 27 Founded by David Baszucki and Erik Cassel in 2004, Roblox released its software
    Mitchell     28 to the public in 2006 for personal computers, and versions of Roblox’s software
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                  1 were subsequently released on mobile devices, via Apple iOS and Google Android,
                  2 and most recently on the Microsoft Xbox One video game console.
                  3        69.    In addition to the Roblox Website, the Roblox platform contains three
                  4 elements: the Roblox Client, the Roblox Studio, and the Roblox Cloud.
                  5        70.    The Roblox Client, downloaded via the Roblox Website or via online
                  6 app stores, contains software that provides users access to games created by other
                  7 users, as well as games developed or sponsored by Roblox. Users access these
                  8 games and interact with other users on the Roblox Client with their user “avatar,”
                  9 which users can customize with different types of gear, clothing, and other items.
                 10        71.    The Roblox Studio, also downloaded via the Roblox Website, is a
                 11 separate piece of software that provides a development toolkit to users who wish to
                 12 develop games and other in-game content for the platform. Using the Roblox
                 13 Studio, these users—sometimes referred to as “developers”—can develop and
                 14 upload 3D models, images, audio files, and video files to the Roblox platform,
                 15 which are then accessible in the Roblox Studio, as well as via the Roblox Website
                 16 and Roblox Client.
                 17        72.    The Roblox Cloud contains the underlying infrastructure to host and
                 18 deliver content throughout the Roblox platform via Roblox’s content delivery
                 19 networks throughout California, the United States, and the world.
                 20        73.    Together with the Roblox Website, these elements interact to create a
                 21 cohesive environment for developing and sharing games and “assets,” or files
                 22 containing content for in-game use, which Roblox copies and disseminates to its
                 23 users via an elaborate content delivery system. Among the most popular “assets”
                 24 are audio files containing unlicensed commercial music, which Roblox has
                 25 encouraged its users to upload and unlawfully stream, distribute, and synchronize
                 26 with game content.
                 27        74.    To sign up for a Roblox account, users, made up predominantly of
    Mitchell     28 young children, must agree to Roblox’s terms and conditions (“Terms of Use”).
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                  1 Pursuant to the Terms of Use, a user agrees to “respect the intellectual property
                  2 rights of others,” and must represent and warrant that they “are the creator and
                  3 owner of, or have the necessary licenses, rights, consents and permissions” to
                  4 authorize Roblox to exploit any content that they upload. Roblox reserves the
                  5 unfettered right to limit use when those terms are violated, including by
                  6 terminating the accounts of, and blocking access to the service, to those who
                  7 “repeatedly or egregiously infringe[] other people’s copyrights or other intellectual
                  8 property rights.”
                  9         75.   Roblox also requires all users to adhere to Roblox’s community rules
                 10 (“Community Rules”), which set forth guidelines for how users are to conduct
                 11 themselves on the platform. These Community Rules provide users with an
                 12 extensive list of the categories of content that Roblox deems to be “inappropriate”
                 13 or “unsafe” for children, such as speech that is discriminatory or offensive to
                 14 certain groups, sexual or overly violent content, profanity, implying that an avatar
                 15 is naked or wearing underwear, activities that are “dangerous” or “unethical,”
                 16 content that impersonates others, games that redirect users away from the Roblox
                 17 platform, promotions that offer prizes, and a multitude of other content and user
                 18 activity that Roblox prohibits.
                 19         76.   Despite Roblox’s written policies, users regularly upload files
                 20 containing copyrighted music. The act of “uploading” a file to Roblox involves
                 21 the user making a copy of the file and distributing it to Roblox, where it is then
                 22 hosted on Roblox’s servers.
                 23         77.   To upload an audio file, a user simply opens the Roblox Studio and
                 24 clicks on a tab marked “Audio,” which then prompts the user to choose a file on
                 25 their local hard drive, in either .mp3 or .ogg format to be copied and distributed to
                 26 Roblox’s servers.
                 27         78.   Roblox makes the process of uploading infringing music extremely
    Mitchell     28 easy for users. Roblox even published an article designed to encourage developers
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                  1 to add music to their games, which explains: “While building a game, it’s easy to
                  2 overlook the importance of sounds and music.” (Emphasis added).4 That page
                  3 gives users step-by-step instructions on how to copy and distribute their music files
                  4 to the Roblox platform.
                  5         79.   When a user uploads a file containing music, the file is transmitted
                  6 and an initial copy is created on a Roblox server.
                  7         80.   Roblox entices users with free membership, making its money largely
                  8 through micro-transactions via Robux, a virtual currency that Roblox charges users
                  9 to purchase. Users can purchase 400 Robux for $4.99, 800 Robux for $9.99, or
                 10 1700 Robux for $19.99. Users can also purchase “Value Packs” of 4,500 Robux
                 11 for $49.99 or 10,000 Robux for $99.99.5 Additionally, users can purchase a
                 12 subscription for a “premium” membership, which grants the user a set allowance of
                 13 Robux per month and 10% additional Robux with every Robux purchase.
                 14         81.   Every audio file that is uploaded to the library on Roblox’s platform is
                 15 accompanied by a Robux charge, commensurate with the length of the audio file,
                 16 which Roblox represents accounts for “the time it takes moderators to review every
                 17 sound file that users upload.”6 Audio files that constitute 2-7 minutes cost the most
                 18 to upload, at 350 Robux per upload, or approximately $4 USD. In other words,
                 19 Roblox has designed its system so that it earns more money when users upload
                 20 audio files comprising full-length songs.
                 21         82.   Roblox also profits on the back end as well, by taking a commission
                 22 on all user-to-user transactions. While uploaded songs are made freely accessible
                 23 on the Roblox platform via the “Roblox Library,” users can choose to sell access to
                 24 games they develop which incorporate the songs, as well as any avatar items that
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                    4
                      Sounds and Music, https://developer.roblox.com/en-us/articles/sounds-and-music
                 26 (last visited June 9, 2021).
                 27 Buy Robux, https://www.roblox.com/upgrades/robux (last visited June 9, 2021).
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    Mitchell
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                      Sounds and Music, https://developer.roblox.com/en-us/articles/sounds-and-music
                 28 (last
  Silberberg &            visited June 9, 2021).
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                  1 they develop in the Roblox Studio, which become available for purchase in a
                  2 separate part of platform known as the “Avatar Shop.”
                  3         83.   After an audio file containing a song is uploaded, it is not added to the
                  4 Roblox Library until after human moderators have reviewed the song in its entirety
                  5 to ensure that it conforms to Roblox’s Community Rules. Roblox creates further
                  6 copies of any audio file that it approves, which it then stores on a separate network
                  7 of servers utilized by Roblox’s content delivery networks.
                  8         84.   To maintain the safe and child-friendly image that is essential to
                  9 Roblox’s brand, Roblox aims to “prevent inappropriate content on the platform by
                 10 reviewing all images, audio, video, and 3D models at the time of upload in order to
                 11 block inappropriate content before users have a chance to encounter it on the
                 12 platform.” 7 To that end, Roblox engages in an extensive level of control and
                 13 oversight over content, including user-uploaded songs. This includes, inter alia:
                 14 (i) employing a trust and safety team of over 1,700 moderators to pre-screen every
                 15 piece of content for signs of bullying and harassment, hate speech, depressive
                 16 thoughts, tiny text embedded in images and washed out images, and other content
                 17 which Roblox deems “inappropriate” for children and contrary to its brand;
                 18 (ii) employing automated chat filters and detection of inappropriate avatar
                 19 clothing; (iii) enforcing the stringent Community Rules that set forth what content
                 20 and user conduct is considered appropriate and inappropriate; (iv) instituting a
                 21 behavior reporting system for users; (v) providing parents with curated content for
                 22 young children and a variety of parental controls aimed at further limiting content
                 23 for some users; (vi) entering into partnerships with numerous third parties
                 24 dedicated to creating a child-safe environment online; and (vii) hosting numerous
                 25 webinars on digital civility and online safety, aimed at educating users, parents,
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                      See Sec. & Exchange Comm., Form S-1 Registration Statement of Roblox
                 27 Corporation, p. 21 (Nov. 19, 2020),
    Mitchell        https://www.sec.gov/Archives/edgar/data/1315098/000119312520298230/d87104d
                 28 s1.htm.
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                  1 educators, and others on the proper way to conduct oneself when using the Roblox
                  2 platform. In all of these ways and more, Roblox goes well beyond that of a passive
                  3 service provider, inserting itself directly into its users’ activities and content.
                  4         85.    Indeed, Roblox actively stands behind all published content on its
                  5 platform, representing to the public that moderation occurs after a file is uploaded
                  6 and before it is published in a game, and that Roblox’s moderators “review every
                  7 uploaded image, video, and audio file used within our games to make sure they are
                  8 safe and age-appropriate”8:
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                 16         86.    Roblox’s moderators aggressively monitor and block content that they
                 17 deem unsuitable for the Roblox platform, prompting some users to complain about
                 18 the overbearing and unilateral nature of Roblox’s content control and removal.
                 19 When it comes to copyright infringement, however, Roblox unfortunately takes a
                 20 derelict approach, refusing to take any meaningful steps to limit the copyright
                 21 infringement on its platform. Having reviewed every audio file in its entirety
                 22 before the file is published on the platform to ensure that it is in line with Roblox’s
                 23 extensive Community Rules, Roblox’s moderators approve the upload of countless
                 24 copyrighted songs that users—many of whom are young children—are not
                 25 authorized to copy and distribute, let alone to represent and warrant their
                 26
                 27  Ken Yeoung, 10 Questions With Laura Higgins, LinkedIn,
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    Mitchell        https://www.linkedin.com/pulse/10-questions-laura-higgins-s1ep13-ken-yeung/
                 28 (July 10, 2019).
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                  1 authorization to copy and distribute. Roblox chooses to do this, and turn a blind
                  2 eye, so that it can become the destination for children to infringe music.
                  3         87.   Upon approval, a song becomes an official “asset” of the Roblox
                  4 platform and is assigned an “Audio ID” by Roblox (an identifying number unique
                  5 to each audio clip on the platform). Roblox then makes additional copies of the
                  6 song file so that it can appear as an asset in the Roblox Library and be accessed
                  7 across the platform by all Roblox users, even though neither Roblox nor its users
                  8 hold the necessary mechanical license to make a reproduction.
                  9         88.   Every song that Roblox approves can be easily synchronized with
                 10 Roblox game content, thereby utilizing the song in a new derivative work, even
                 11 though neither Roblox nor its users hold the necessary sync license. When a song
                 12 is synchronized into a game on the Roblox platform, Roblox creates an additional
                 13 copy of the song, which it hosts on its servers. Roblox then creates and distributes
                 14 additional copies of the song every time a user plays that game.
                 15         89.   Every song that Roblox approves can also be streamed on demand, in
                 16 its entirety—within games on the Roblox Client, within the Roblox Studio, and on
                 17 the Roblox Website—even though neither Roblox nor its users hold the necessary
                 18 public performance license. Roblox’s Terms of Use in fact specifically account for
                 19 this, explaining to users that uploaded music—which Roblox requires young
                 20 children to represent and warrant they are authorized to upload—is being licensed
                 21 to Roblox “without the obligation to pay royalties to any third party, including
                 22 without limitation . . . a musical work copyright owner (e.g., a music publisher) . . .
                 23 .”
                 24         90.   As shown below, a song in the Roblox Library appears in conjunction
                 25 with a “play” button, which users can click, prompting Roblox to engage in a
                 26 public performance of the entire uploaded recording by means of a digital audio
                 27 transmission:
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                  7        91.    Users can even engage with each other by posting comments about

                  8 the song in a comment section that appears directly below the song. In this way,
                  9 Roblox has created a social platform built around creating and sharing a free,
                 10 unlicensed, streaming music library:
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                 25        92.    Certain aspects of the Roblox platform are available to anyone who

                 26 visits the Roblox Website, whether or not they have registered for a Roblox
                 27 account. In particular, the Roblox Library is publicly available on the Roblox
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                  1 Website, and any member of the public can stream audio files in the Roblox
                  2 Library for free and on demand.
                  3                   THE IMPORTANCE OF MUSIC ON ROBLOX
                  4         93.    That Roblox’s platform has become a repository for sharing
                  5 unlicensed commercial music is no accident. Roblox actively encourages its users
                  6 to upload and share popular music to make the games on its platform more
                  7 appealing and attractive to its young audience, fully aware that it has not obtained
                  8 the necessary permissions.
                  9         94.    Indeed, Roblox’s representatives have stated that their goal is to
                 10 attract more music fans. In an interview last year, Roblox’s global head of music,
                 11 Jon Vlassopulos, stated that he was on a mission to “embed music in all the natural
                 12 places across the platform,” and noted, “We want developers to have great music
                 13 to build games. We want the music to be, not production music, but really great
                 14 [commercial] music.”9 (Alteration in original). Vlassopulos noted in that same
                 15 interview that it is “open season” for people who want to come and start building
                 16 games that prominently feature music.10 And as recently as April 2021,
                 17 Vlassopulos advertised to a major news publication covering the mobile game
                 18 industry that there is “something for everyone” on the Roblox platform (and in
                 19 particular, music fans): “building your own amusement park, working at a pizza
                 20 place, becoming your own DJ, or enjoying a music concert.” (Emphasis added).11
                 21         95.    Roblox has intentionally built music into its platform to appropriate
                 22 the value of Plaintiffs’ and others’ creative efforts for itself. Before offering the
                 23 ability to upload music at all, Roblox held a “music video contest” in 2009 to
                 24   9
                         Stuart Dredge, Roblox Head of Music Tells Labels and Artists: ‘We’re open for
                 25   business!’, Musically (July 23, 2020), https://musically.com/2020/07/23/roblox-
                      head-of-music-tells-labels-and-artists-were-open-for-business.
                 26   10
                         Id.
                 27
                      11
                         Roblox’s Jonathan Vlassopulos on music biz meets the metaverse, Pocket Gamer
                      (April 16, 2021), https://www.pocketgamer.biz/interview/76326/roblox-jonathan-
    Mitchell     28   vlassopulos-music-metaverse/.
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                  1 engage its users and test the waters for turning its platform into a music-sharing
                  2 service, asking users to utilize Roblox to “make up your own story to go along
                  3 with your favorite song” and then “upload the video to your YouTube account.” 12
                  4 Aware that it was inducing users to commit copyright infringement, Roblox
                  5 explicitly instructed its users on how to avoid detection: “DO NOT PUT the song
                  6 title, artist and album movie credits, video title or description (more info) or
                  7 YouTube may take down the video.”13
                  8         96.   In February 2013, a few months prior to the inclusion of true audio
                  9 files, Roblox published an article on its official blog promoting the in-game use of
                 10 a Musical Instrument Digital Interface (“MIDI”) player, which is a rudimentary
                 11 file format for notating and playing simple compositions, commonly associated
                 12 with the soundtracks heard in arcade games from the 1980s and 1990s. As noted
                 13 in that article, “if there’s a song you enjoy, there’s a MIDI version of it somewhere
                 14 on the internet.”14 Roblox went on to encourage its users to incorporate MIDI
                 15 players into their games for the express purpose of playing music: “We look
                 16 forward to seeing how users leverage music in their games.” 15
                 17         97.   In September 2013, Roblox officially added the ability to upload
                 18 music files in the more modern .mp3 format (the format long associated with
                 19 illegal file-sharing services such as Napster), announcing on its blog: “One of the
                 20 most requested features of all time, the ability to upload your own sound effects
                 21 and music clips, has gone live.”16 While Roblox initially limited the length of
                 22
                    12
                       ROBLOX Rox Music Video Contest!, Roblox Blog (Feb. 27, 2009),
                 23 https://blog.roblox.com/2009/02/roblox-rox-music-video-contest/.
                 24 13 Id.
                    14
                 25 21,Use Gamehero’s MIDI Player to Play Music in Your Game, Roblox Blog (Feb.
                         2013), https://blog.roblox.com/2013/02/use-gameheros-midi-player-to-play-
                 26 music-in-your-game/.
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                       Id.
                 27 16 Weekly ROBLOX Roundup: September 29th, 2013, Roblox Blog (Sept. 29, 2013),
    Mitchell     28 https://blog.roblox.com/2013/09/weekly-roblox-roundup-september-29th-2013/.
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                  1 audio clips to fifteen (15) seconds, it realized that this would not be nearly enough
                  2 to attract music fans to its platform, and thereafter increased the length limit to six
                  3 (6) minutes in 2016, thereby opening the floodgates to the vast majority of popular
                  4 songs. Roblox accompanied this update with an announcement encouraging its
                  5 users to upload songs. In a press release, Roblox stated: “We realize how
                  6 important sounds are for adding immersion and atmosphere for any Roblox game.
                  7 So, what are you waiting for? Start uploading those bigger audio files today!” 17
                  8 If this was not obvious enough, Roblox published a tutorial stating that adding
                  9 sounds to games is “a great way to add atmosphere and immersion, whether
                 10 through sound effects or music.”18 (Emphasis added). Roblox subsequently
                 11 increased the length limit for audio files to seven (7) minutes, which is the current
                 12 limit.
                 13          98.   With the inclusion of music on Roblox came the Boombox, a type of
                 14 “gear,” or in-game item, that users can purchase from the Avatar Store and equip
                 15 to their character avatars while playing games, allowing them to play any song in
                 16 the Roblox library by inputting or pasting the Audio ID for that song. Users can
                 17 use Boomboxes in any game that has enabled the functionality to play any song in
                 18 the Roblox Library. When users stream a song in a game from a Boombox, all
                 19 other players in the vicinity of that user can hear the music.
                 20          99.   Roblox freely allows users to create and sell their own Boomboxes for
                 21 a set amount of Robux, for which Roblox takes a commission, but the most
                 22 popular Boomboxes are those that Roblox has itself created and sold to users with
                 23 the object of promoting their use for playing copyrighted music. In particular,
                 24 Roblox’s own “Golden Super Fly Boombox” and “Dual Golden Supa Fly
                 25
                 26    Upload Longer Audio Files, Roblox Blog (Oct. 4, 2016),
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                    https://blog.roblox.com/2016/10/upload-longer-audio-files-today/.
                 27 18 Sounds, Roblox Blog (archived) (May 31, 2018),
    Mitchell     28 https://web.archive.org/web/20180531232406/http:/wiki.roblox.com/index.php?titl
                    e=Sounds.
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                  1 Boombox,” which Roblox advertises for playing “nothin’ but the hits,” and
                  2 Roblox’s own “Boombox Gear 3.0,” which Roblox promotes to “play some hot
                  3 jams,” have been purchased by hundreds of thousands of users who are
                  4 emboldened to use Roblox’s platform to infringe Plaintiffs’ and others’ musical
                  5 works, as demonstrated in the below examples. Roblox’s “Golden Super Fly
                  6 Boombox” alone has been a designated a “favorite” item by more than 200,000
                  7 Roblox users, as demonstrated in the below examples. Roblox charges users 500
                  8 Robux, or over $5 USD each, for the Boomboxes that Roblox itself has developed.
                  9 Among the most popular items on the service, Roblox’s Boomboxes have been
                 10 purchased over half a million times. 19
                 11         100. Examples of how Roblox advertises and displays the Boomboxes that
                 12 it develops and sells to users are shown below:
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                 27  Kriss Thakrar, Roblox, piracy and the future of music in UGC 2.0, Midia (Mar.
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    Mitchell        19, 2021), https://www.midiaresearch.com/blog/roblox-piracy-and-the-future-of-
                 28 music-in-ugc-20.
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                  8           101. Popular games have also emerged on Roblox that replicate this
                  9 Boombox experience for any user whether they own Boombox “gear” or not,
                 10 equipped with titles such as “FREE RADIO [BOOMBOX] MUSIC!” Such games
                 11 are created and played with the sole purpose of performing popular music. In such
                 12 games, users navigate a virtual environment as their avatars, “playing” music
                 13 through their Boombox for themselves and for all other users within vicinity to
                 14 listen:
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                 26           102. When a user equips a Boombox, a prompt appears instructing the user
                 27 to “[p]ut the ID of a song you like in the textbox below!” The user then hits play,
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                  1 and Roblox begins streaming the song, digitally transmitting it to the user and all
                  2 other users in the vicinity:
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                 13         103. Moreover, Roblox offers users the ability to create “Game Passes,”
                 14 which they can then sell for whatever amount of Robux they wish to charge, and
                 15 for which Roblox takes a commission. Game Passes serve as in-game upgrades
                 16 that give a player desirable additional features within a particular game. Game
                 17 Passes enabling in-game music are sold under a variety of names, such as “Radio
                 18 Pass,” “Radio,” and “Music Player,” but they all serve essentially the same
                 19 function as the Boombox: to stream popular music for free in the game, and
                 20 without compensation to the rights holders or others in the legitimate music
                 21 market.
                 22         104. Functioning much like Boomboxes, these Game Passes allow users to
                 23 play any song from the Roblox library by inputting the Audio ID. And, like
                 24 Boomboxes, these items are expressly promoted to encourage users to play
                 25 unlicensed copyrighted music. Some Game Passes are sold for the sole purpose of
                 26 allowing a user to play their Boombox in a game where they would otherwise not
                 27 have that ability. One Game Pass, featured in a popular driving game titled
    Mitchell     28 “Ultimate Driving,” is advertised to users that wish to “[j]am out with [their]
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                  1 friends to [their] favorite tunes while driving!” And another one, featured in a
                  2 game titled “Ultimate Freeze Tag,” features the tagline, “Jam out to your favorite
                  3 songs with this gamepass!” These examples are shown below:
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                 22        105. Examples of other Game Passes advertised and sold by Roblox are
                 23 shown below:
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                 19            106. The Boomboxes and Game Passes have spawned numerous third-
                 20 party websites, such as robloxsong.com, robloxlist.com/roblox-music-codes, and
                 21 musiccoder.com/codes, which are devoted to indexing and compiling Audio IDs
                 22 for all of the infringing music in one place, so that users may easily find and enter
                 23 the Audio IDs into the Boomboxes and music Game Passes and engage in the
                 24 unauthorized performances of Plaintiffs’ and others’ musical works. They have
                 25 also spawned YouTube videos compiling Audio ID codes with titles such as “200+
                 26 ROBLOX Music Codes/ID(S) *JANUARY 2021* #1,” which have been viewed
                 27 millions of times. 20 And mainstream media outlets that cover video gaming have
    Mitchell     28   20
                           See https://www.youtube.com/watch?v=yomof7VJfFs (last visited June 9, 2021).
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                  1 written articles covering the “best” Audio ID codes, further giving an air of
                  2 legitimacy to Roblox’s and its users’ flagrant infringement.
                  3        107. Well aware that Boomboxes and Game Passes are being promoted and
                  4 sold for the sole purpose of playing copyrighted music, Roblox takes active
                  5 measures to promote and encourage the use of these in-game items, bolstering user
                  6 demand for copyrighted music and encouraging its users to continue uploading
                  7 songs to grow Roblox’s extensive library of infringing material.
                  8        108. For years, Roblox has utilized social media to promote its audio
                  9 features and encourage users to share music on its platform, fully aware that its
                 10 platform was fast becoming a destination for infringement. In 2015, Roblox
                 11 announced on Twitter that it now supported .ogg audio files. In Roblox’s words,
                 12 the .ogg file format was introduced to “make[] looping music easier!”21 A year
                 13 later, Roblox tweeted to its followers: “What is the coolest in game music you guys
                 14 have heard on #ROBLOX ?!,” prompting one Twitter user to respond: “I am sure
                 15 they are all copyrighted”:
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    Mitchell
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                       Roblox (@Roblox) Twitter (Mar. 8, 2015, 12:26 PM),
                 28 https://twitter.com/Roblox/status/578231054227648512.
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                  1         109. Roblox has also built advertising into the HTML metadata for each
                  2 page on the Roblox Website that features an audio file “asset” within the Roblox
                  3 library, encouraging developers and other users to exploit the audio and
                  4 synchronize it with game content. For instance, for an audio file featuring the song
                  5 “Under My Thumb” as recorded by the Rolling Stones, Roblox may embed the
                  6 following text as a “description” of the page: “Use the Rolling Stones – Under My
                  7 Thumb [FULL] and thousands of other assets to build an immersive game or
                  8 experience. Select from a wide range of models, decals, meshes, plugins, or audio
                  9 that help bring your imagination into reality.”
                 10         110. Roblox has furthermore promoted high-profile users who have
                 11 developed games with music, in order to promote itself as a destination for sharing
                 12 music. For instance, the user “TwentyTwo Pilots,” (presumably nodding to the
                 13 musical artist TwentyOne Pilots) who developed the game “Ultimate Driving”—
                 14 which, as explained above, included the ability to purchase a “Game Pass” for
                 15 streaming copyrighted music—was awarded “Developer of the Year” and “Builder
                 16 of the Year” by Roblox, and Roblox prominently featured their game on the
                 17 platform.
                 18         111. Roblox has obtained licenses in only a limited number of instances,
                 19 including in one instance from a music company that specifically issues sync
                 20 licenses for the use of production music in video games, so there is no question
                 21 that Roblox is aware that it needs to, and knows how to, obtain licenses before
                 22 using Plaintiffs’ musical works on its platform. Roblox has even deliberately
                 23 named many of the songs in its limited “royalty-free” (i.e. licensed) catalog after
                 24 far more popular copyrighted compositions owned by Plaintiffs that Roblox has
                 25 infringed, such as the tracks “Wild Horses” and “Get What You Want” (clearly
                 26 intended to associate the platform with the Rolling Stones, who famously recorded
                 27 compositions titled “Wild Horses” and “You Can’t Always Get What You Want”),
    Mitchell     28 in an attempt to attract music lovers to the site.
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                  1                         A SAFE HAVEN FOR INFRINGERS
                  2         112. Roblox, in writing, claims that it has a “3-strike system for IP
                  3 violations that is designed to punish repeat offenders who repeatedly upload
                  4 infringing content.” Contrary to Roblox’s public-facing policy however, Roblox
                  5 users who have repeatedly and flagrantly infringed Plaintiffs’ works do not lose
                  6 access to Roblox, nor even face a realistic threat of losing access. Rather than
                  7 disconnecting or suspending such user accounts, which would have stopped or
                  8 limited the infringement, and deterred others from committing infringement,
                  9 Roblox allows such repeat infringers to continue their infringement unabated. As a
                 10 result, Roblox has allowed its platform to become a de facto safe haven for
                 11 infringers.
                 12         113. In a post on Roblox’s developer forum from March 2019, Roblox
                 13 explained how its three-strike policy is actually nothing of the sort. In that post,
                 14 Roblox represented that if users receive a strike, it will initiate a 45-day period in
                 15 which all subsequent copyright claims are considered “part of that same strike,” so
                 16 long as the claim occurs within the same 45-day period.22 In other words, a user
                 17 can be found to have engaged in virtually an unlimited number of infringements,
                 18 and, as long as such infringement took place within a 45-day period, the user will
                 19 only receive one “strike.”
                 20         114. The following are egregious examples of accounts that are still
                 21 operating, demonstrating how Roblox has failed to terminate, suspend, or take any
                 22 other appropriate action to limit the accounts of users found to have repeatedly
                 23 infringed Plaintiffs’ and others copyrighted musical works:
                 24           • Roblox user “XxAaron_UkxX” (User ID 665171514), who has
                                 uploaded at least 53 infringing audio files over a 1035 day period that
                 25              were cited for copyright violations.
                 26
                 27
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                    22
                       More Information about our DMCA Policy, https://devforum.roblox.com/t/more-
                 28 information-about-our-dmca-policy/255884
  Silberberg &                                               (last accessed June 9, 2021).
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                  1            • Roblox user “jksk12345” (User ID 55205950), who has uploaded at
                  2              least 35 infringing audio files over a 864 day period that were cited
                                 for copyright violations.
                  3
                               • Roblox user “FwLeoIII” (User ID 84681831), who has uploaded at
                  4
                                 least 27 infringing audio files over a 469 day period that were cited
                  5              for copyright violations.
                  6            • Roblox user “SuperJoshiDuff” (User ID 25342199), who has
                  7              uploaded at least 26 infringing audio files over a 874 day period that
                                 were cited for copyright violations.
                  8
                  9            • Roblox user “EricTheElk” (User ID 79938319), who has uploaded at
                                 least 23 infringing audio files over a 789 day period that were cited
                 10              for copyright violations.
                 11
                            115. The foregoing examples are not exhaustive, and there are many more
                 12
                      examples demonstrating Roblox’s failure to meet its obligations to terminate or
                 13
                      limit access to repeat infringers. Discovery is likely to uncover countless more.
                 14
                            116. Roblox regularly terminates users for reasons other than copyright
                 15
                      infringement, and will not hesitate to terminate a user that has a bad reputation
                 16
                      among Roblox’s moderators for uploading content that Roblox deems contrary to
                 17
                      its reputation for providing a safe environment for children. In contrast, Roblox
                 18
                      only pays lip service to its obligations with respect to copyright infringement,
                 19
                      while routinely looking past known repeat offenders who have littered the Roblox
                 20
                      platform with songs identified for copyright violations.
                 21
                            117. Roblox also allows users to form members-only “groups” based on
                 22
                      shared interests, which has resulted in numerous groups being created for the sole
                 23
                      purpose of compiling and sharing infringing music on the Roblox platform.
                 24
                      Groups such as “Roarin’ Records,” which advertises its availability of music in “all
                 25
                      music genres” specializing “in 20’s-80’s,” and “Boomer Audio Club,” which
                 26
                      describes itself as “just some dudes who upload old songs onto Roblox,” are made
                 27
                      up of thousands of members and effectively act as royalty-free pirate stores for
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  Silberberg &        purchasing and sharing infringing copies of music uploaded by members:
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                            118. Roblox is well aware of the existence of such groups, as they are often
                 26
                      started by the most egregious and high-profile infringers on the Roblox platform—
                 27
                      one of the extremely rare circumstances where Roblox may decide to intervene to
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  Silberberg &        limit account access. But Roblox’s “enforcement” is too little too late. Even if
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                  1 Roblox takes action against the user, Roblox does not terminate or limit access to
                  2 the works associated with that user, or to the group created by that user. In other
                  3 words, Roblox is fully aware when an egregious infringer forms a group for the
                  4 sole purpose of compiling infringing music, but continues to grant unfettered
                  5 access to the large library of infringing music amassed by the group and allow it to
                  6 continue growing.
                  7         119. These groups can further continue to function because Roblox turns a
                  8 blind eye to “burner accounts,” which are user accounts created for the sole
                  9 apparent purpose of supplying these groups with infringing music. Such “burner
                 10 accounts,” are often given names that are obvious to any reasonable observer, such
                 11 as an account known as “Roarin’ Uploader,” which was created solely to supply
                 12 infringing songs to the library of “Roarin’ Records.”
                 13         120. Roblox’s platform has become a safe haven for infringement
                 14 notwithstanding its extensive level of moderation, control, oversight, and active
                 15 involvement in the content that appears on its platform. This demonstrates that
                 16 Roblox is fully aware of the rampant infringement on its platform, including
                 17 specific instances of infringement and specific users and groups who are engaging
                 18 in repeat acts of infringement, and has deliberately acted to maintain its culture of
                 19 infringement.
                 20         121. Further demonstrating Roblox’s willfulness, Roblox deliberately
                 21 disables the searchability of music by popular artists to conceal the vast scope of
                 22 infringing music on its platform, making it much more onerous for copyright
                 23 owners to identify the infringement and those users who are repeatedly using the
                 24 Roblox platform to infringe. For example, a search in the Roblox library for
                 25 “Ariana Grande” or “The Rolling Stones” will return a result of “no items found,”
                 26 however, a search for a particular song may return results including “Ariana
                 27 Grande” or “The Rolling Stones,” demonstrating that Roblox has deliberately
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                  1 interfered with a copyright owner’s ability to identify an infringing work for
                  2 removal.
                  3         122. Roblox claims to utilize copyright filtering technology to reduce
                  4 infringement, but knows that its users routinely and easily bypass these filters by
                  5 making minor modifications to the audio files, such as slight shifts in pitch or
                  6 tempo. Roblox is aware of this wide practice, and has nonetheless conditioned its
                  7 users to believe that making minor modifications to an audio file nullifies
                  8 copyright protections. Roblox’s use of filtering technology has been nothing more
                  9 than an empty gesture to mask its long history of instigating, inducing, and
                 10 encouraging users, including children, to infringe copyrighted music.
                 11        ROBLOX’S BUSINESS MODEL THRIVES ON INFRINGEMENT
                 12         123. Utilizing Robux, Roblox has created a digital economy for sharing—
                 13 and profiting from—infringing music.
                 14         124. Roblox’s business model critically depends on attracting users to
                 15 upload and distribute high-value copyrighted music, and the users, as mentioned
                 16 above, must pay Roblox to upload each and every audio file. Roblox also allows
                 17 users to charge a fee for access to games, as well as Boomboxes, Game Passes, and
                 18 other in-game content that is promoted for playing popular music, taking a
                 19 commission on every user-to-user transaction. Roblox has even sold over half a
                 20 million of its own proprietary Boomboxes at over $5 each. Furthermore, Roblox
                 21 sells advertising to users who wish to advertise their games and items for purchase,
                 22 giving users easier means to share and make money from infringing content.
                 23 Roblox further incentivizes users and provides them with the opportunity to qualify
                 24 and register for the “Developer Exchange Program,” which allows them to
                 25 exchange earned Robux for real-world money. In all these ways, Roblox has built
                 26 a compensation scheme which actively incentivizes users to upload and share
                 27 popular music and develop games and in-game content that infringe upon popular
    Mitchell     28 music, all while simultaneously lining Roblox’s own pockets.
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                  1         125. The rampant infringing activity on Roblox has acted as a draw for
                  2 attracting and retaining users to whom Roblox can sell its Robux and “premium”
                  3 memberships. Roblox refuses to take action against the rampant infringement
                  4 because its financial incentives are directly tied to encouraging its rapidly growing
                  5 user base to infringe Plaintiffs’ and others’ music. In Roblox’s own words, “more
                  6 users” means “more Robux are spent on our platform.” 23 Roblox recognizes that its
                  7 platform is more attractive with a vast library of popular commercial music and,
                  8 despite outwardly cultivating a “child-friendly” image, knows that its platform is
                  9 particularly enticing to young children and teens who want to listen to their
                 10 favorite songs in games but may not yet be aware of the consequences and
                 11 detrimental effects of copyright infringement.
                 12         126. Although Roblox unquestionably has a right and ability to control
                 13 what content appears on its platform, Roblox only exercises that right when it is in
                 14 its commercial interest to do so. Roblox engages in aggressive pre-screening and
                 15 content control measures aimed at providing a “safe and enjoyable experience for
                 16 users of all ages,” going to great lengths to block all content that Roblox fears
                 17 could harm its reputation among parents and teachers as a safe online environment.
                 18 But when it comes to copyright infringement, Roblox takes a hands-off approach,
                 19 pretending to look the other way so that its platform can become a destination for
                 20 children to share infringing music.
                 21         127. Roblox’s user base—currently over 200 million—exploded over the
                 22 last ten years, around the same time Roblox started actively promoting its platform
                 23 for sharing popular music. Roblox recognizes that if the availability of quality
                 24 content on its platform such as Plaintiffs’ works declines, then it may experience
                 25 an overall reduction in the quality of the platform, which, according to Roblox,
                 26   See Sec. & Exchange Comm., Form S-1 Registration Statement of Roblox
                      23

                    Corporation, p. 30 (Nov. 19, 2020),
                 27 https://www.sec.gov/Archives/edgar/data/1315098/000119312520298230/d87104d
    Mitchell     28 s1.htm.
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                  1 “could adversely affect users’ interest in our platform and lead to loss of revenue
                  2 opportunities.”24
                  3         128. Roblox is fully aware that the widespread availability of content on its
                  4 platforms brings with it additional legal obligations, but does not respect those
                  5 obligations because, in Roblox’s own words, “[t]he costs of compliance . . . may
                  6 limit the use of our platform or reduce overall demand for our platform, which
                  7 could harm our business, financial condition and results of operations.”25
                  8         129. At bottom, Roblox has set up its business to thrive on infringement.
                  9 Roblox can take numerous measures to reduce the infringement on its platform, but
                 10 it chooses not to do so because (1) the success of its business depends on the
                 11 availability of free, unlicensed music to entice young users who want to listen to
                 12 music in their games, and (2) the cost of complying with the law will cut into
                 13 Roblox’s profits.
                 14         130. Because Roblox has made clear its intentions as a bad actor bent on
                 15 exploiting others’ music for its own financial gain, Plaintiffs, through their trade
                 16 association National Music Publishers’ Association, and a number of other rights
                 17 holders in the music industry, have already brought Roblox’s rampant infringement
                 18 to its attention. Roblox has even noted this in its own financial statements,
                 19 warning that it “could be subject to an adverse judgment” if a lawsuit is brought
                 20 against it by record labels or by music publishers such as Plaintiffs. 26 Nonetheless,
                 21 Roblox continues to infringe. Because Roblox refuses to take responsibility for its
                 22 misconduct, Plaintiffs have been forced to bring this action to enforce their rights
                 23 and hold Roblox accountable.
                 24
                 25
                 26
                 27   Id. at 23.
                      24


                      Id. at 20.
                      25

    Mitchell     28 26Id. at 54.
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                  1                                 CLAIMS FOR RELIEF
                  2                      COUNT I – Direct Copyright Infringement
                  3         131. Plaintiffs repeat and re-allege each and every allegation in paragraphs
                  4 1 through 130 as if fully set forth herein.
                  5         132. Roblox has engaged, and continues to engage, in the unauthorized
                  6 reproduction, adaptation, distribution, and public performance of various
                  7 copyrighted works for which Plaintiffs are the legal or beneficial copyright owners,
                  8 including those copyrighted works listed on Exhibit A, and many others. The
                  9 foregoing activity constitutes direct infringement by Roblox in violation of
                 10 17 U.S.C. §§ 106 and 501 et seq.
                 11         133. The infringement of Plaintiffs’ rights in each of their copyrighted
                 12 works constitutes a separate and distinct act of infringement. The list of works on
                 13 Exhibit A is a non-exhaustive, illustrative list of works infringed and will be
                 14 amended when discovery reveals additional works infringed.
                 15         134. Roblox’s acts of infringement are willful, intentional, and purposeful,
                 16 in disregard of and with indifference to Plaintiffs’ rights.
                 17         135. As a direct and proximate result of Roblox’s infringement of
                 18 Plaintiffs’ copyrights, Plaintiffs are entitled to statutory damages, pursuant to
                 19 17 U.S.C. § 504(c), in an amount of up to $150,000 with respect to each work
                 20 infringed, or such other amounts as may be proper under 17 U.S.C. § 504(c).
                 21 Alternatively, at Plaintiffs’ election, pursuant to 17 U.S.C. § 504(b), Plaintiffs shall
                 22 be entitled to their actual damages, including Roblox’s profits from infringement,
                 23 as will be proven at trial. Plaintiffs are further entitled to attorneys’ fees and costs
                 24 pursuant to 17 U.S.C. § 505.
                 25         136. Roblox’s conduct is causing, and unless enjoined by this Court, will
                 26 continue to cause Plaintiffs great and irreparable injury that cannot fully be
                 27 compensated for or measured in money, such that Plaintiffs have no adequate
    Mitchell     28 remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiffs are entitled to a permanent
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                  1 injunction prohibiting further infringements of their exclusive rights under
                  2 copyright.
                  3                 COUNT II – Contributory Copyright Infringement
                  4         137. Plaintiffs repeat and re-allege each and every allegation in paragraphs
                  5 1 through 136 as if fully set forth herein.
                  6         138. Roblox’s users have reproduced, distributed, adapted, and publicly
                  7 performed, and continue to reproduce, distribute, adapt, and publicly perform,
                  8 without authorization various copyrighted works for which Plaintiffs are the legal
                  9 or beneficial copyright owners, including those copyrighted works listed on
                 10 Exhibit A, and many others. The foregoing activity constitutes direct infringement
                 11 by Roblox’s users in violation of 17 U.S.C. §§ 106 and 501 et seq.
                 12         139. Roblox is liable as a contributory copyright infringer because it
                 13 intentionally induces the direct infringement of its users as described above.
                 14 Roblox instructs users on how to upload unauthorized commercial music to its
                 15 platform and actively promotes its platform to be used for sharing unauthorized
                 16 commercial music, including inter alia by endorsing games and items designed
                 17 and promoted with the express object of sharing and performing unauthorized
                 18 commercial music, repeatedly advertising its platform as a destination for popular
                 19 commercial music with knowledge that neither it nor its users hold the necessary
                 20 licenses, and adopting a business model that depends upon a high volume of
                 21 unauthorized commercial music in order to build its user base and generate greater
                 22 revenue. Roblox’s users engage, and have engaged, in massive amounts of direct
                 23 infringement as a consequence of Roblox’s active involvement in and inducement
                 24 of the infringement.
                 25         140. Roblox is also liable as a contributory copyright infringer because it
                 26 knows of and materially contributes to the direct infringement of its users as
                 27 described above. Roblox knows that its platform is being used for rampant
    Mitchell     28 copyright infringement, and even has actual and constructive knowledge of
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                  1 specific instances of infringement and specific users and user groups that have
                  2 engaged in repeated or flagrant infringement. Roblox’s human moderation team
                  3 furthermore extensively pre-screens and reviews every single audio file containing
                  4 unauthorized music before allowing it onto the platform, providing Roblox’s stamp
                  5 of approval; thus, Roblox is well aware of the massive levels of infringement that it
                  6 lets through the gates, including countless specific instances of infringement.
                  7 Nonetheless, Roblox continues to provide the site and facilities necessary for
                  8 Roblox users to commit direct infringement, and actively facilitates the
                  9 infringement, including via the actions described above.
                 10         141. As a result, Roblox is contributorily liable for the unlawful
                 11 infringement of Plaintiffs’ copyrighted works, including those listed on Exhibit A
                 12 hereto, in violation of Plaintiffs’ exclusive rights under the copyright laws of the
                 13 United States. The list of works on Exhibit A is a non-exhaustive, illustrative list
                 14 of works infringed and will be amended when discovery reveals additional works
                 15 infringed.
                 16         142. The infringement of Plaintiffs’ rights in each of their copyrighted
                 17 works constitutes a separate and distinct act of infringement.
                 18         143. Roblox’s acts of infringement are willful, intentional, and purposeful,
                 19 in disregard of and with indifference to Plaintiffs’ rights.
                 20         144. As a direct and proximate result of Roblox’s infringement of
                 21 Plaintiffs’ copyrights, Plaintiffs are entitled to statutory damages, pursuant to
                 22 17 U.S.C. § 504(c), in an amount of up to $150,000 with respect to each work
                 23 infringed, or such other amounts as may be proper under 17 U.S.C. § 504(c).
                 24 Alternatively, at Plaintiffs’ election, pursuant to 17 U.S.C. § 504(b), Plaintiffs shall
                 25 be entitled to their actual damages, including Roblox’s profits from infringement,
                 26 as will be proven at trial. Plaintiffs are further entitled to attorneys’ fees and costs
                 27 pursuant to 17 U.S.C. § 505.
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                  1         145. Roblox’s conduct is causing, and unless enjoined by this Court, will
                  2 continue to cause Plaintiffs great and irreparable injury that cannot fully be
                  3 compensated for or measured in money, such that Plaintiffs have no adequate
                  4 remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiffs are entitled to a permanent
                  5 injunction prohibiting further infringements of their exclusive rights under
                  6 copyright.
                  7                   COUNT III – Vicarious Copyright Infringement
                  8         146. Plaintiffs repeat and re-allege each and every allegation in paragraphs
                  9 1 through 145 as if fully set forth herein.
                 10         147. Roblox’s users have reproduced, distributed, adapted, and publicly
                 11 performed, and continue to reproduce, distribute, adapt, and publicly perform,
                 12 without authorization, various copyrighted works for which Plaintiffs are the legal
                 13 or beneficial copyright owners, including those copyrighted works listed on
                 14 Exhibit A, and many others. The foregoing activity constitutes direct infringement
                 15 by Roblox’s users in violation of 17 U.S.C. §§ 106 and 501 et seq.
                 16         148. Roblox is liable as a vicarious copyright infringer for the direct
                 17 infringement of its users as described above. Roblox has the right and ability to
                 18 supervise and control the infringing activities that occur through the use of its
                 19 platform, and at all relevant times, has derived direct and substantial financial
                 20 benefits from the infringement of Plaintiffs’ copyrighted works occurring on the
                 21 platform. Nevertheless, Roblox refused, and continues to refuse, to take the steps
                 22 reasonably available to it to stop or limit the infringement. In particular, Roblox
                 23 actively monitors and reviews every piece of uploaded content before it is
                 24 published, and has stringent content guidelines based on what Roblox, in its sole
                 25 authority, deems is acceptable for and will help its brand, and reserves for itself the
                 26 contractual right to remove or disable access to infringing material and terminate
                 27 the accounts of users who repeatedly or egregiously infringe other people’s
    Mitchell     28 copyrights. Notwithstanding this considerable contractual and practical authority
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                  1 and active involvement in the content on its platform, Roblox has failed to exercise
                  2 its authority with respect to the rampant copyright infringement on its platform,
                  3 because the availability of infringing music, including Plaintiffs’ copyrighted
                  4 works, serves as a major draw for attracting and retaining paying users.
                  5         149. As a result, Roblox is vicariously liable for the unlawful infringement
                  6 of Plaintiffs’ copyrighted works, including those listed on Exhibit A hereto, in
                  7 violation of Plaintiffs’ exclusive rights under the copyright laws of the United
                  8 States. The list of works on Exhibit A is a non-exhaustive, illustrative list of
                  9 works infringed and will be amended when discovery reveals additional works
                 10 infringed.
                 11         150. The infringement of Plaintiffs’ rights in each of their copyrighted
                 12 works constitutes a separate and distinct act of infringement.
                 13         151. Roblox’s acts of infringement are willful, intentional, and purposeful,
                 14 in disregard of and with indifference to Plaintiffs’ rights.
                 15         152. As a direct and proximate result of Roblox’s infringement of
                 16 Plaintiffs’ copyrights, Plaintiffs are entitled to statutory damages, pursuant to
                 17 17 U.S.C. § 504(c), in an amount of up to $150,000 with respect to each work
                 18 infringed, or such other amounts as may be proper under 17 U.S.C. § 504(c).
                 19 Alternatively, at Plaintiffs’ election, pursuant to 17 U.S.C. § 504(b), Plaintiffs shall
                 20 be entitled to their actual damages, including Roblox’s profits from infringement,
                 21 as will be proven at trial. Plaintiffs are further entitled to attorneys’ fees and costs
                 22 pursuant to 17 U.S.C. § 505.
                 23         153. Roblox’s conduct is causing, and unless enjoined by this Court, will
                 24 continue to cause Plaintiffs great and irreparable injury that cannot fully be
                 25 compensated for or measured in money, such that Plaintiffs have no adequate
                 26 remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiffs are entitled to a permanent
                 27 injunction prohibiting further infringements of their exclusive rights under
    Mitchell     28 copyright.
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                  1                              PRAYER FOR RELIEF
                  2       WHEREFORE, Plaintiffs pray for judgment from this Court against Roblox
                  3 as follows:
                  4       a. For a declaration that Roblox has willfully infringed musical works
                  5          owned and/or controlled by Plaintiffs in violation of the Copyright Act;
                  6       b. For statutory damages pursuant to 17 U.S.C. § 504(c), in an amount up to
                  7          the maximum provided by law, arising from Roblox’s willful violations
                  8          of Plaintiffs’ rights under the Copyright Act; or, in the alternative, at
                  9          Plaintiffs’ election, Plaintiffs’ actual damages pursuant to 17 U.S.C.
                 10          § 504(b), including Roblox’s profits from infringement, in an amount to
                 11          be proven at trial; in all events, in an amount of no less than $200
                 12          million;
                 13       c. For such equitable relief under Title 17, Title 28, and/or the Court’s
                 14          inherent authority as is necessary to prevent or restrain infringement of
                 15          Plaintiffs’ copyrights, including a permanent injunction requiring that
                 16          Roblox and its officers, agents, servants, employees, attorneys, directors,
                 17          successors, assigns, licensees, and all others in active concert or
                 18          participation with any of them, cease infringing, or causing, aiding,
                 19          enabling, facilitating, encouraging, promoting, inducing or materially
                 20          contributing to or participating in the infringement of any of Plaintiffs’
                 21          exclusive copyright rights, including without limitation in the musical
                 22          works listed on Exhibit A;
                 23       d. For an award of Plaintiffs’ costs, including reasonable attorneys’ fees,
                 24          pursuant to 17 U.S.C. § 505;
                 25       e. For pre-judgment and post-judgment interest at the applicable rate on any
                 26          monetary award made part of the judgment against Roblox; and
                 27       f. For such other and further relief as the Court deems proper.
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                  2 DATED: June 9, 2021                   MITCHELL SILBERBERG & KNUPP LLP
                  3
                  4                                       By: /s/ David A. Steinberg
                  5                                           David A. Steinberg
                                                              Attorneys for Plaintiffs
                  6
                  7
                                                      JURY DEMAND
                  8
                           Plaintiffs demand a trial by jury.
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                 10
                      DATED: June 9, 2021                 MITCHELL SILBERBERG & KNUPP LLP
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                 13
                                                          By: /s/ David A. Steinberg
                 14                                           David Steinberg
                                                              Attorneys for Plaintiffs
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    Mitchell     28
  Silberberg &
   Knupp LLP
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                   EXHIBIT A




                                       45
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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
            Title of Work                      Copyright Registration No.           Plaintiff(s)*
10.8                                     PA 2-294-804                            Zimmerman; Kobalt
1999                                     PAu 440-507; PA 157-921                     Universal
2448                                     PA 2-055-461                            Zimmerman; Kobalt
3005                                     PA 1-924-016                                Universal
3500                                     PA 2-096-035                                Universal
(Rock) Superstar                         PA 1-009-112                                Universal

                                         EU 33492; EP 264255; EP 335847; EP
                                         335846; EP 335845; PA 785-964; PAu
(Sittin' On) The Dock Of The Bay         2-279-253; PAu 2-069-906; RE 760-653         Universal
0 To 100                                 PA 1-981-715                                 Universal
10,000 Hours                             PA 2-212-950; PA 2-212-950             Big Machine; Universal
2 Of Amerikaz Most Wanted                PA 1-070-596                                 Universal
2 Phones                                 PA 2-082-983                               Concord Music
21 Guns                                  PA 1-653-856                                 Universal
25 Or 6 To 4                             EP 277250; RE 78-292                           Spirit
2U                                       PA 2-081-377                                 Universal
4 Minutes To Save The World              PA 1-693-172                                 Universal
5 To 9                                   PA 1-852-906                                 Hipgnosis
7 Rings                                  PA 2-187-265                               Concord Music
8Bit                                     PA 2-294-863                            Zimmerman; Kobalt
Achy Breaky Song                         PA 534-864; PA 713-892                       Universal
Adore You                                PA 2-265-129                               Concord Music
Ain't Going Down (Til The Sun Comes
Up)                                      PA 675-437                                  Universal
Ain't No Sunshine                        EU 243844; EP 376752; RE 827-146            Universal
Ain't Your Mama                          PA 2-061-817                                Universal
Airplane Pt 2                            PA 2-148-640                                Reservoir
Airplanes                                PA 1-731-016                                Universal
Alien                                    PA 1-917-964                                Universal
Alive                                    PA 544-549; PA 563-413                      Universal
All Around The World                     PA 1-850-389                                Universal
All Eyez On Me                           PA 1-070-609                                Universal
All I Do Is Win                          PA 2-072-437                                Universal
All My Love                              PA 1-986-622                                Reservoir
All Night Long                           PA 218-613                                  Hipgnosis
All Of The Lights                        PA 1-783-122; PA 2-074-360                  Universal
All That Matters                         PA 1-907-231                                Universal
All The Good Girls Go To Hell            PA 2-190-193                                Universal
All The Things She Said                  PA 1-105-056                                Universal
All Those Years Ago                      PA 181-849                                Concord Music
All Time Low                             PA 2-048-482                                Universal

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
           Title of Work                       Copyright Registration No.           Plaintiff(s)*
Alone                                    PA 2-113-448                                 Universal
Ambitionz Az A Ridah                     PA 1-070-592                                 Universal
American Boy                             PA 1-599-813; PA 1-659-161              Reservoir; Universal
American Girl                            EU 721156; RE 890-825                        Universal
American Pie                             EU 284299; EP 295357                         Universal
Amerika                                  PA 1-163-523                                 Universal
Amish Paradise                           PA 705-091; PA 809-516                       Universal
Anaconda                                 PA 2-062-630                                 Universal

And I Am Telling You I'm Not Going       PAu 365-845; PA 147-794                     Universal
Angel Of Death                           PA 343-118                                  Universal
Angels & Demons                          PA 2-284-117                              Concord Music
Animal                                   PAu 3-532-360                             Concord Music
Animals                                  PA 1-980-504                                Universal
Another Life                             PA 2-085-734                                Universal
Another Night                            PA 795-554                                  Universal
Another Way Out                          PA 1-861-555                                Universal
Any Way You Want It                      PA 66-904                                   Hipgnosis
Are Friends Electric                     PA 112-329                                  Hipgnosis
Around The World                         PA 895-701                                  Universal
As Long As You Love Me                   PA 1-850-386                                Universal
At My Best                               PA 2-084-857                                Universal
Automatic                                PA 202-235                                  Universal
Away From The Sun                        PA 1-120-567                                Universal
Ayo                                      PA 2-063-114; PA 2-094-632                  Universal
Ayo Technology                           PA 1-645-303                                Universal
Baba O'Riley                             EP 294048; RE 707-761                         Spirit
                                         EU 96055; EP 256803; EP 339000; RE
                                         753-534; PA 1-588-673; PA 550-674;
Babe I'm Gonna Leave You                 PA 550-704                                   Universal
Baby                                     PA 1-703-214                                 Universal
                                         PA 1-131-131; PA 1-395-317; PA 1-226-
Baby Boy                                 000                                          Universal
Baby Got Back                            PA 594-005                                   Universal
Baby, I Love Your Way                    EU 566872; EP 345532; RE 874-651             Universal
Baby, It's Cold Outside                  EU 123945; R631968                             MPL
Baby-Baby-Baby                           PA 575-632                                   Hipgnosis
Back In Baby's Arms                      EP 173538; RE 547-947                        Reservoir
Back To Sleep                            PA 2-061-502                                 Universal
Back To The Streets                      PA 2-283-444                              Concord Music
Backseat Freestyle                       PA 1-855-740                                 Universal
Bad And Boujee                           PA 2-072-685; PA 2-097-856              Reservoir; Universal

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
            Title of Work                      Copyright Registration No.         Plaintiff(s)*
Bad At Love                              PA 2-113-520                              Universal
Bad Guy                                  PA 2-190-142                              Universal
Bad Liar                                 PA 2-291-340                              Universal
Bad Medicine                             PA 378-907                                Universal
Bad Moon Rising                          EU 110913; RE 750-708                   Concord Music
Ballroom Blitz                           PAu 66-844                                Universal
Band On The Run                          EU 454356; RE 864-533                        MPL
Barbie Girl                              PA 890-830                                Universal
                                         EU 789263; EU 791168; EP 373576; RE
Barracuda                                910-161; RE 910-167                       Universal
Basic Thugonomics                        PA 1-293-275                              Universal
Battle Scars                             PA 1-936-321                              Universal
Be Like You (Ft. Broods)                 PA 2-182-043                            Concord Music
Be My Baby                               PA 1-939-320                              Universal
Be My Baby                               EU 789193; RE 515-815                     Universal
Beautiful Crazy                          PA 2-215-919                             Big Machine
Beauty And A Beat                        PA 1-850-375                              Universal
Because Of You                           PA 1-643-835; PA 1-167-514                Universal
Bedrock                                  PA 1-835-844                              Universal
Beez In The Trap                         PA 2-181-713                              Reservoir
Behind Blue Eyes                         EP 291055; RE 707-770                        Spirit
Believer                                 PA 2-076-951                              Universal
Bellyache                                PA 2-183-753                              Universal
Beware                                   PA 1-916-151                              Universal
Big Bang Theory - Main Title, The        PA 1-598-334; PA 1-598-335                Universal
                                         PAu 2-199-365; EU 874313; RE 607-
Bittersweet Symphony                     104                                        ABKCO
Black                                    PA 544-550; PA 563-412                    Universal
Black And White                          PA 2-241-176                              Hipgnosis
Bleed It Out                             PA 1-167-572; PA 1-602-887                Universal
Bleeding Out                             PA 1-816-018; PA 1-816-018                Universal
Blessings                                PA 2-031-973                              Universal
Blinding Lights                          PA 2-223-543                              Universal
Bodak Yellow                             PA 2-247-259; PA 2-084-486                Universal
Bodies                                   PA 1-962-427                              Reservoir
                                         PA 2-118-582; PA 2-067-268; PA 2-074-
Body Like A Back Road                    696                                        Spirit
Bon Appetit                              PA 2-096-139                              Universal
Boo D Up                                 PA 2-123-747                                Peer
Boogie Wonderland                        PA 32-747                                 Universal
Born For This                            PA 2-045-685                                Peer
Born To Be My Baby                       PA 378-908                                Universal

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
             Title of Work                     Copyright Registration No.          Plaintiff(s)*
Born To Be Wild                          EU 35989; EP 250554                        Universal
Both                                     PA 2-118-637                               Universal
Bottoms Up                               PA 1-747-296                               Universal
Bounce Back                              PA 2-070-682                               Universal
Boy With Luv                             PA 2-200-106                               Universal
Boyfriend                                PA 1-850-387                               Universal
Boys Are Back In Town, The               EU 674600; EP 354602; RE 891-146           Universal
Brass In Pocket                          PA 125-821                                 Hipgnosis
Break Stuff                              PA 1-021-053                               Universal
Breakfast In America                     PA 32-062                                  Universal
Breaking The Habit                       PA 1-256-418                               Universal
Breathe On Me                            PA 1-219-076                               Universal
Bridged By A Lightwave                   PA 2-293-410                           Zimmerman; Kobalt
                                         EP 166883; RE 475-432; EU 719893;
Bring It On Home To Me                   RE 475-464                                   ABKCO
Bring Me To Life                         PA 1-152-549                                Reservoir
Broccoli                                 PA 2-047-080                         Concord Music; Universal
Bugatti                                  PA 1-838-849                                Universal
Bury A Friend                            PA 2-190-083                                Universal
Bust A Move                              PA 426-796                               Concord Music
Buy Me A Boat                            PA 2-023-061                                  Spirit
Buy U A Drank                            PA 1-601-621                                Reservoir
Buy U A Drank (Shawty Snappin')          PA 1-649-953                                Universal
By Myself                                PA 2-183-538                                Hipgnosis
California Dreamin'                      EU 918773; RE 635-860                       Universal
                                         EU 890216; RE 610-581; EU 212915;
                                         RE 775-518; EP 348722; PA 267-943;
California Girls                         PA 788-562; PAu 2-079-809                   Universal
California Gurls                         PA 1-711-654; PA 1-734-423           Concord Music; Universal
Call Casting                             PA 2-093-245                                Universal
Call You Mine                            PA 2-285-554                                Reservoir
Called You Twice                         PA 2-182-786                                Hipgnosis
Camilla                                  PA 2-294-752                           Zimmerman; Kobalt
Candles (Carta Remix)                    PA 2-120-345                             Concord Music
Candy Shop                               PA 1-282-566                                Reservoir
Can't Get Enough                         PA 2-014-708                                  Peer
Can't Get Enough                         PA 1-779-659                                Universal
Can't Stop The Feeling                   PA 2-114-951                                Universal
                                         EU 706060; RE 891-195; EP 364197;
Car Wash                                 RE 891-356                                  Universal
Caroline                                 PA 2-074-686                                Universal
Cars                                     exempt                                      Hipgnosis

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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 Case 2:21-cv-04705-RSWL-MAA Document 1 Filed 06/09/21 Page 50 of 71 Page ID #:50

                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
             Title of Work                     Copyright Registration No.         Plaintiff(s)*
Castle                                   PA 2-059-958                              Universal
Castle Of Glass                          PA 1-805-745                              Universal
Cat Thruster                             SR 797-434; PRE 9-229                 Zimmerman; Kobalt
Catalyst, The                            PA 1-725-628                              Universal
Celoso                                   PA 2-146-335                            Concord Music
Cha Cha Slide                            PAu 2-515-830; SRu 427-369                  Spirit
Chain Hang Low                           PAu 2-680-938                             Universal
Chain, The                               EU 772676                                 Universal
                                         EP 276311; RE 586-521; EU 816632;
Change Is Gonna Come, A                  RE 570-151                                  ABKCO
Channel 43                               PA 2-293-391                          Zimmerman; Kobalt
Chapters                                 PA 2-195-811                             Big Machine
Chasing Cars                             PA 1-990-266                              Universal
Check Yes Juliet                         PA 1-766-953                              Reservoir
Cheers (Drink To That)                   PA 1-732-810; PA 1-101-508                Universal
Cherry Bomb                              EP 356892; RE 929-039                        Peer
Chunky                                   PA 2-070-320                              Universal
Cielito Lindo                            E 15235; R633349                             Peer
Clarity                                  PA 1-856-736                              Universal
Classic Man                              PA 2-082-138; PA 2-084-489                Universal
Clint Eastwood                           PA 1-066-504                              Universal
Closer                                   PA 2-064-557                              Universal
Coasted                                  PA 2-241-385                          Zimmerman; Kobalt
Cold                                     PA 2-078-046; PA 2-199-503                Universal
Cold Hearted                             PA 422-660                               Downtown
Cold Water                               PA 2-055-176                              Universal
Colors                                   PA 2-059-980                              Universal
Come Sail Away                           EU 828640; EP 376043; RE 910-690          Universal
Coming Home                              PA 1-751-168                              Universal
Company                                  PA 2-083-590                              Universal
Congratulations                          PA 2-081-028                              Universal
Contra La Pared                          PA 2-177-579                            Concord Music
Control                                  PA 2-060-006                              Universal
Controlla                                PA 2-062-984                              Universal
Coolin And Booted                        PA 2-084-512                              Universal
Copycat                                  PA 2-183-782                              Universal
Cotton Eye Joe                           PA 914-439                              Concord Music
Crawling                                 PA 1-092-510                              Universal
Crazy                                    PA 1-165-223; PA 1-339-649                Universal
                                         EU 414760; RE 170-976; EU 449184;
Crazy Arms                               RE 205-608; EP 102761; RE 204-817         Universal
Crazy On You                             EU 696828; RE 892-424                     Universal

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                          50
 Case 2:21-cv-04705-RSWL-MAA Document 1 Filed 06/09/21 Page 51 of 71 Page ID #:51

                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
            Title of Work                      Copyright Registration No.         Plaintiff(s)*
Criminal                                 PA 1-767-537                               Universal
Cry Me A River                           PA 1-133-262                          Reservoir; Universal
Crying In The Club                       PA 2-083-444                               Universal
Cuaderno                                 PA 2-251-336                            Concord Music
Cuando Calienta El Sol                   EFO 83228; RE 447-217; PA 146-583            Peer
Cupid Shuffle                            PA 2-252-926                            Concord Music
Cure For The Itch                        PA 1-092-516                               Universal
Daddy                                    PA 2-012-322                               Universal
Dancing's Not A Crime                    PA 2-144-087                               Hipgnosis
Dangerously                              PA 2-103-008                               Universal
Day N Nite                               PA 1-692-981                               Universal
Day-O                                    EU 411172; RE 177-461                      Reservoir
Dead Bite                                PA 1-861-553                               Universal
Deadz                                    PA 2-083-328                               Universal
Dear Mama                                EU 529309; PA 773-741                      Universal
Dear Maria, Count Me In                  PA 1-675-977                               Universal
Demons                                   PA 1-796-478                               Universal

Despacito (Ft. Justin Bieber) (Remix)    PA 2-080-459; PA 2-079-925                Universal
Dessert (Feat. Silanto - Remix)          PA 2-182-661                                Spirit
Deus Ex Machina                          SR 797-434; PRE 009-229               Zimmerman; Kobalt
Devil In Me                              PA 2-113-528                              Universal

Devil Went Down To Georgia, The          PAu 84-340                                 Universal
Disco Inferno                            PA 853; RE 916-794                         Reservoir
Disco Inferno                            PA 1-298-497                               Universal
Distraction                              PA 2-068-812                               Universal
Disturbia                                PA 1-692-669                               Universal
Do For Love                              PA 1-385-081                               Universal
Does Anybody Really Know What
Time It Is                               EU 117486; RE 756-215                        Spirit
Does To Me                               PA 2-235-200                             Big Machine
Dog Days Are Over                        PA 1-892-802                              Universal
Doin' Time                               PA 813-744; PA 916-704                    Universal
                                         PA 1-943-417; PA 2-052-039;
Don't Be Gone Too Long                   PA 2-090-392                               Universal
Don't Close Your Eyes                    PA 363-698                                 Universal
Don't Look Back                          PA 14-789; PAu 52-500                      Universal
Don't Mind                               PA 2-047-004; PA 2-048-732                 Universal
Don't Stay                               PA 1-256-411                               Universal
Don't Stop                               EU 713074; RE 904-499                      Universal
Don't Stop Believin'                     PA 111-968                                 Hipgnosis

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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 Case 2:21-cv-04705-RSWL-MAA Document 1 Filed 06/09/21 Page 52 of 71 Page ID #:52

                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
              Title of Work                    Copyright Registration No.           Plaintiff(s)*
Don't Tell 'Em                           PA 2-062-936                                Universal
Don't Wanna Know                         PA 2-074-281                                Universal
Don't Wanna Write This Song              PA 2-195-421                               Big Machine
Don't Worry Be Happy                     PAu 1-053-089                               Universal
Dora The Explorer Theme                  PA 1-161-936                                Universal
Down                                     PA 2-066-308                                Universal
Down                                     PA 2-126-190                                Universal
Down On The Corner                       EU 149503; RE 750-716                     Concord Music
Draco                                    PA 2-074-846                                Universal
Drama Free (Feat. Lights)                PA 2-294-794                            Zimmerman; Kobalt
Dream Is Collapsing                      PA 1-732-081                                Universal
Drone                                    PA 2-161-820                                Hipgnosis
Drop It Like It's Hot                    PA 1-160-179                                Universal
Drowning                                 PA 2-120-293                                Reservoir
Dynamite Radio Edit                      PA 1-396-952; PA 1-720-607                Concord Music
Earned It (Fifty Shades Of Grey)         PA 1-989-294; PA 1-968-800                  Universal
Easier To Run                            PA 1-256-414                                Universal
Eenie Meenie                             PA 1-703-249                                Universal
Electric Love                            PA 1-991-514                              Concord Music
Electricity                              PA 2-182-820                                   Spirit
Eminence Front                           PA 152-030                                     Spirit
Enemies                                  PA 2-233-908                                Universal
Euphoria                                 PA 2-226-390                                Universal
Ever Since New York                      PA 2-085-466                                Universal
Every Little Step                        PA 406-142                                  Hipgnosis
Everybody Have Fun Tonight               PA 323-913                                     Spirit
Everybody Hurts                          PA 593-748                                  Universal
Everybody Talks                          PA 1-811-165                              Concord Music
Everyday                                 PA 2-065-676                                Universal
Everyday We Lit (Remix)                  PA 2-262-109                                Universal
Everything Black                         PA 2-183-736                                   Spirit
Everything I Wanted                      PA 2-223-334                                Universal
Everywhere I Go                          PA 1-793-066                                Universal
Eye Of The Tiger                         PA 141-854                                Concord Music
Eyes Closed                              PA 2-079-924; PA 2-113-443                  Universal
Faint                                    PA 1-256-417                                Universal
Fake Love                                PA 2-065-840                                Universal
                                         PA 1-981-024; PA 1-967-653; PA 1-939-
Fancy                                    546                                         Universal
Fanfare For The Common Man               EP 126802; R516701                        Concord Music
Father Of 4                              PA 2-291-810                                Reservoir


* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
               Title of Work                   Copyright Registration No.         Plaintiff(s)*
                                         PA 2-035-639; PA 2-021-403; PA 2-013-
Feeling, The                             800                                       Universal
Feelings                                 PA 1-947-809                              Universal
Feels                                    PA 2-092-077                              Universal
Fefe                                     PA 2-285-247; PA 2-147-038                Universal
Fighter                                  PA 1-143-426                              Reservoir
Figure.09                                PA 1-256-419                              Universal
Fine Again                               PA 1-144-447                              Reservoir
Finesse                                  PA 2-159-866                              Reservoir
                                         PA 2-087-561; PA 1-999-871; PA 1-991-
Firebird                                 086                                       Universal
Fireflies                                PA 1-692-976                              Universal
Firework                                 PA 1-716-006                                Peer
Flawless (Remix)                         PA 2-026-184                              Universal
Fly                                      PA 1-745-306                              Universal
Foggy Mountain Breakdown (Old
Deal)                                    EU 196654; R661395                          Peer
Follow The Leader                        PA 1-824-919                              Universal
                                         PA 2-134-341; PA 2-133-279; PA 2-065-
Fool For You                             629                                       Universal
                                         EU 438325; EP 8423; EP 121619; RE
For Sentimental Reasons                  290-639                                   Universal
Forever And Ever Amen                    PA 375-440                                Universal
Fortunate Son                            EU 149502; RE 750-717                   Concord Music
Free Bird                                EU 450840; RE 838-872; RE 852-176         Universal
Fresh Prince Of Bel-Air                  PAu 1-887-849                             Universal
Friday                                   PA 762-475                                Universal
Friends - Main Title                     PA 763-522                                Universal
Friends In Low Places                    PA 485-587                                Universal
From The Inside                          PA 1-256-421                              Universal
Fuck Love                                PA 2-095-667                              Universal
Fun, Fun, Fun                            EU 807824; RE 574-318                     Universal
Future Days                              PA 1-885-383                              Universal
Galway Girl                              PA 2-168-684                                Spirit
Gangnam Style                            SR 717-289                                Universal
Gangsta                                  PA 2-076-983                              Universal
Gangsta's Paradise                       PA 823-702; PA 705-091                    Universal
Gasoline                                 PA 2-060-004                              Universal
Gateway Drug                             PA 2-068-598                              Universal
GDFR                                     PA 1-938-177                              Universal
Genius Of Love                           PA 118-398                                Universal
Gentleman                                PA 2-031-793                              Universal

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
           Title of Work                       Copyright Registration No.          Plaintiff(s)*
Get Back Up Again                        PA 2-114-955                               Universal
Get Low                                  PA 1-241-884                               Reservoir
                                         EP 274902; RE 608-086; EU 909853;
Get Off Of My Cloud                      RE 608-864                                  ABKCO
Get Right Witcha                         PA 2-093-253                               Universal
Get Ugly                                 PA 2-008-565                               Universal
Getting In Tune                          EP 294053; RE 707-768                        Spirit
Ghetto Gospel                            PA 1-269-944; PA 1-323-618                 Universal
Ghost                                    PA 2-092-074                               Universal
Gimme More                               PA 1-632-033; PA 1-680-545            Reservoir; Universal
                                         EP 272711; RE 773-951; EU 154592;
Gimme Shelter                            RE 744-881                                  ABKCO
                                         EP 372687; RE 852-068; EU 448562;
Gimme Three Steps                        RE 851-733                                 Universal
Girls Like You                           PA 2-138-332; PA 2-138-734          Concord Music; Universal
Give Me Everything                       PA 1-820-420                               Universal
Given Up                                 PA 1-167-570; PA 1-602-906                 Universal
Glamorous                                PA 1-370-493                               Universal
Glory Box                                PA 923-602                                 Universal
Go Off                                   PA 2-139-041                               Universal
God Only Knows                           EU 948189; RE 662-431                      Universal
God's Plan                               PA 2-274-324; PA 2-239-332                 Universal
Going Under                              PA 1-152-548                               Reservoir
Gold                                     PA 1-999-938                               Universal
Golden                                   PA 2-250-726                            Concord Music
Good Boy                                 PA 1-938-179                               Universal
Good Hearted Woman                       EP 294817; RE 664-954                      Universal
Good Life                                PA 2-139-507                               Universal
Good Time                                PA 1-821-138                               Universal
Good Vibrations                          EU 964030; RE 654-512                      Universal
Goodbye Stranger                         PA 32-061                                  Universal
Goosebumps                               PA 2-083-128                               Universal
Grass Ain't Greener                      PA 2-067-121; PA 2-072-856                 Universal
Greased Lightnin'                        EP 308775; PA 19-144                         MPL
Green River                              EU 126338; RE 750-710                   Concord Music
Grind With Me                            PA 1-296-858; PA 1-352-603                 Universal
Guillotine                               PA 2-048-490; PA 2-041-611                 Universal
Guwop                                    PA 2-082-209                               Universal
Hair                                     PA 2-026-347; PA 2-009-594                 Universal
Hair Up                                  PA 2-129-535                               Universal
Hall Of Fame                             PA 1-828-622                               Universal


* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                          54
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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
            Title of Work                      Copyright Registration No.           Plaintiff(s)*
Hard 2 Face Reality (Feat. Justin
Bieber & Jay Electronica)                PA 2-284-636                                Universal
Hard To Say I'm Sorry                    PA 142-242; PA 150-383                        Peer
Harvest Moon                             PAu 1-666-226                               Hipgnosis
Havana                                   PA 2-198-007                                Reservoir
Havana (No Rap Version)                  PA 2-198-007; PA 2-216-511                Concord Music
Have You Ever Seen The Rain?             EU 222228; RE 667-213                     Concord Music
Haxpigmeow                               PA 2-069-309                            Zimmerman; Kobalt
Head & Heart                             PA 2-258-901                                  Spirit
Head Above Water                         PA 2-170-911                                Universal
Head Like A Hole                         PA 709-514                                Concord Music
                                         PA 1-828-499; PA 1-793-879; PA 1-788-
Headlines                                641                                         Universal
Heartless                                PA 2-229-148                               Big Machine
Heartless                                PA 1-902-142; PA 1-652-500                  Universal

Heaven Must Be Missing An Angel          EU 676024; PA 13-343                        Universal
                                         EU 796188; RE 518-209; EP 183268;
Hello, Dolly!                            RE 517-256                                    MPL
Help Me Rhonda                           EU 868745; RE 610-558                       Universal
Here                                     PA 2-120-419; PA 2-049-195                  Universal
Here Comes The Sun                       EF 34994; RE 782-130                      Concord Music
Here Comes Your Man                      PA 608-985                                  Universal
Here Without You                         PA 1-120-571                                Universal
Hero                                     PA 1-882-311                                  Peer
Heroes (We Could Be)                     PA 1-995-059                                Universal
Heroes And Villains                      EU 2476; RE 688-203                         Universal
Hey Brother                              PA 1-932-523                                Universal
Hey Mama                                 PA 1-989-993                                Universal
Hey Mami                                 PA 1-992-052                                Hipgnosis
Hey There                                PA 2-086-273                                Universal
High Hopes                               PA 2-144-483                                Hipgnosis
Higher                                   PA 969-201                                  Reservoir
Him & I                                  PA 2-119-248                                Universal
Hips Don't Lie                           PA 1-367-687                              Concord Music
Ho Hey                                   PA 1-824-568                                 Kobalt
Hold It Against Me                       PA 1-732-948; PA 1-396-974                Concord Music
                                         EU 928718; RE 654-638; EP 246262;
Hold On I'm Comin'                       RE 734-375                                  Universal
Hold The Line                            PA 47-013                                    Spirit
Holiday                                  PAu 505-502; PAu 905-744                     Spirit
Holy Grail                               PA 1-941-188; PA 1-878-255                  Universal

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
             Title of Work                     Copyright Registration No.          Plaintiff(s)*
Honky Tonk Women                         EP 274903; EU 125715; RE 744-872            ABKCO
Hookah                                   PA 1-913-032                               Universal
Hostage                                  PA 2-183-777                               Universal
Hot Girl Summer (Feat. Nicki Minaj &
Ty Dolla $ign)                           PA 2-250-916                            Concord Music
Hotline Bling                            PA 2-239-334                              Universal

How Can You Mend A Broken Heart          EU 268203; RE 728-547                      Universal
How I Could Just Kill A Man              PA 796-241                                 Universal
How Many Times                           PA 2-065-418                               Universal
Hunter                                   PA 2-092-147                        Concord Music; Universal
Hurricane                                PA 2-092-069                               Universal
Hurricane                                PA 2-076-980                               Universal
Hush Hush                                PA 1-612-724                               Universal
Hype                                     PA 2-062-981                               Universal
Hypnotize                                PA 785-009                                 Universal
                                         EU 448564; RE 844-240; EU 448564;
I Ain't The One                          RE 851-735                                Universal
I Believe I Can Fly                      PA 848-248                                Universal
I Can't Get Enough                       PA 2-176-143                            Concord Music
I Could Fall In Love                     PA 762-316                                Reservoir
I Don't Care                             PA 2-185-003                              Universal
I Don't Know Why                         PA 2-126-621                              Universal
I Don't Mind                             PA 1-997-291; PA 1-956-327                Universal
I Don't Want To Set The World On
Fire                                     EU 218115; R428802                           MPL
I Fall Apart                             PA 2-137-390                               Universal
I Get Around                             EU 821071; PAu 2-079-503                   Universal
I Got The Keys                           PA 2-067-633; PA 2-045-121                 Universal
I Have Nothing                           PA 629-301; PAu 1-594-862                    Peer
I Know                                   PA 2-032-004                               Universal

I Know What You Did Last Summer          PA 2-026-117                               Universal
I Know You Want Me                       PA 1-733-983                                Spirit
I Like It                                PA 2-167-683; PA 2-153-433                 Universal
I Luv It                                 PA 2-082-463                               Universal
I Miss You                               PA 1-243-932                               Universal
I Wanna Dance With Somebody (Who         PAu 901-755; PA 343-550; PAu 985-
Loves Me)                                995                                        Universal
I Wanna Rock                             PA 226-793                                 Universal
I Want A Hippopotamus For
Christmas                                EP 75804; RE 84-409                           MPL

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
           Title of Work                       Copyright Registration No.          Plaintiff(s)*
I Want Candy                             EU 884335; RE 647-753                         MPL
                                         PAu 47-934; PAu 129-011; PA 41-104;
I Will Survive                           PA 428-721                                 Universal
I Wonder Why                             EU 513041; V1957P110                         Spirit
Ice Cream                                PA 2-268-882                               Reservoir
Idol                                     PA 2-151-331                               Reservoir
Idontwannabeyouanymore                   PA 2-183-785                               Universal
If I Were A Boy                          PAu 3-358-950; PA 2-067-654                Universal
If You Leave Me Now                      EU 694744; RE 904-428                      Universal
Ignition                                 PA 1-130-236                               Universal
Ilomilo                                  PA 2-190-184                               Universal
I'm So Sorry                             PA 1-999-953                               Universal
I'm The One                              PA 2-080-162; PA 2-141-034                 Universal
I'm Too Sexy                             PA 550-414                                   Spirit
I'm Your Baby Tonight                    PA 486-225                                 Hipgnosis
Imaginary Friends                        SR 797-434; PRE 009-229               Zimmerman; Kobalt
Imma Be                                  PA 1-682-852                          Reservoir; Universal
In Case You Didn't Know                  PA 2-015-042                             Big Machine
In My Blood                              PA 2-128-764                               Hipgnosis
In My Feelings                           PA 2-158-240                            Peer; Universal
In My House                              PA 241-468                                 Hipgnosis
In The End                               PA 1-092-513                               Universal
In The Mood                              EP 82707; EU 168986; R362720               Reservoir
In The Wee Small Hours Of The
Morning                                  EP 89080; RE 128-808; RE 124-437              MPL
                                         PA 608-912; PA 781-849; PA 781-849;
Informer                                 PA 786-440                                Universal
Intentions                               PA 2-236-318; PA 2-247-882              Peer; Universal
Invisible Touch                          PA 293-897                              Concord Music
Iridescent                               PA 1-725-626                              Universal
Irobot                                   PA 2-043-103                              Hipgnosis
Ironic                                   PA 705-736                                Universal
Is There Somewhere                       PA 2-092-070                              Universal
Islands In The Stream                    PA 188-026; PAu 486-704                   Universal
Isolation                                PA 323-169                                Universal

It's Beginning To Look Like Christmas EU 236708; RE 10-751                            MPL
It's Not My Time                      PA 1-694-337                                  Universal
It's The End Of The World As We
Know It                               PA 343-481                                    Universal

It's The Hard-Knock Life                 EP 373856; PA 62-285                          MPL

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
              Title of Work                    Copyright Registration No.         Plaintiff(s)*
It's Up To You                           EU 492435; RE 861-046                     Reservoir
Jaws Main Title                          RE 874-834; EU 598707                     Universal
Jaws Theme Swimming                      PA 1-160-998                              Universal
Jeremy                                   PA 563-408; PA 544-554                    Universal
Jet                                      EU 454355; RE 864-534                        MPL
John Wayne                               PA 2-134-445                            Concord Music
Jump [Feat. Nelly Furtado] -
Malinchak Club Mix                       PA 1-734-047; PA 1-670-549              Concord Music
Jump Out The Window                      PA 2-070-675                              Universal
Jurassic Park                            PA 625-931                                Universal
Just Can't Get Enough                    PA 1-771-849                              Hipgnosis
Just The Way You Are                     PA 1-725-672                              Universal
Keke                                     PA 2-285-902                              Reservoir
Kelly Price                              PA 2-097-857                              Universal
Kid Charlemagne                          EU 679291; RE 891-480                     Universal
Kill, The                                PA 1-630-065                              Universal
King Of The Fall                         PA 1-956-658                              Universal
Kiss                                     PA 284-474                                Universal
Kiss It Better                           PA 2-084-144                              Universal
Knees                                    PA 2-152-282                                Spirit
Kryptonite                               PA 999-801                                Universal
L.A. Love (La La)                        PA 1-932-653                              Universal
La Camisa Negra                          PAu 2-900-683                               Peer
Last Resort                              PA 960-732                                Reservoir
Lay Up                                   PA 2-085-232                              Universal
Lean On                                  PA 1-986-623                              Reservoir
                                         EU 319523; RE 832-583; EP 304954;
Lean On Me                               RE 832-582                                Universal
Leave Me Alone                           PA 2-161-833                              Hipgnosis
Leave Out All The Rest                   PA 1-167-571                              Universal
Leaving On A Jet Plane                   EP 236284; RE 704-907; PA 24-044          Reservoir
Legacy                                   PA 1-965-059; PA 1-882-554                Universal
Let Go (Feat. Grabbitz)                  PA 2-059-906                          Zimmerman; Kobalt
Let Me Love You                          PA 1-256-557                              Reservoir
Let Me Love You                          PA 2-065-686                              Universal
Let Me Love You                          PA 2-076-794                              Universal
Let Me Roll It                           EU 454352; RE 864-537                       MPL
Let My Love Open The Door                PAu 195-123                                 Spirit
Let There Be Love                        PA 1-824-960                            Concord Music
Let's Go Crazy                           PAu 613-658; PA 217-248                   Universal
Life Is A Highway                        PA 683-569                                Universal
Life Is Good                             PA 2-250-830                            Concord Music

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
             Title of Work                     Copyright Registration No.              Plaintiff(s)*
Life Of The Party                        PA 1-965-413                                   Hipgnosis
Lifestyle                                PA 1-913-020                                   Universal
Light It Up                              PA 2-019-811                                   Universal
Like I Would                             PA 2-134-506; PA 2-133-288                     Universal
Lithium                                  PA 1-351-917                                   Reservoir
                                         EP 350497; RE 874-449; EU 824989;
Little Honda                             RE 574-325; PA 211-074                         Universal
Little Saint Nick                        EU 802512; RE 525-586                          Universal
Live And Let Die                         EF 38046; RE 834-698                             MPL
Livin' On A Prayer                       PA 305-252; PAu 872-474                        Universal
                                         PA 2-157-426; PA 1-994-385; PA 2-007-
Locked Away                              522                                            Universal
Lollipop (Candyman)                      PA 890-835                                     Universal
Lolly                                    PA 1-908-720                                   Universal
Lonely                                   PA 2-258-898                                     Spirit
Long Gone                                PA 238-137                                     Universal
Look What You Made Me Do                 PA 2-087-339                                     Spirit
Losing My Religion                       PA 541-342                                     Universal
Lost In The Echo                         PA 1-805-740                                   Universal
Love Galore                              PA 2-251-845                                   Universal
Love Me Do                               EF 28620; RE 483-070                             MPL
Love On Me                               PA 2-178-779; PA 2-181-954              Concord Music; Universal
Love The Way You Lie                     PA 1-730-976                                   Universal
Love Yourself                            PA 2-083-662                                   Universal
Lovely                                   PA 2-169-255                                   Universal
Lovin' It                                PA 1-881-407                                   Universal
Low                                      PA 1-633-047                                   Universal
Low Life                                 PA 2-053-118; PA 2-033-875                     Universal
Loyal (West Coast Version)               PA 1-912-901                                   Universal
Lucky Strike                             PA 1-810-804                                   Universal
Lumos! (Hedwig's Theme)                  PA 1-224-124; PA 1-066-735                     Universal
Lying From You                           PA 1-256-415                                   Universal
M.I.L.F. $                               PA 2-125-332; PA 2-051-954                     Universal
Mad Hatter                               PA 2-101-209                                   Universal
Magic                                    PA 1-942-605                                   Universal
Major Tom (Voellig Losgeloest)           PA 163-488; PA 182-909                           Peer
Make My Love Go                          PA 2-107-485                                Concord Music
Mama                                     PA 2-294-997; PA 2-141-536                     Universal
Mama Said                                PA 2-037-066                                     MPL
Mambo No. 5                              PA 968-419                                       Peer
Man In The Mirror                        PA 343-903                                     Universal
Maneater                                 PA 1-597-058; PA 1-164-461                     Reservoir

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
            Title of Work                      Copyright Registration No.            Plaintiff(s)*
Marry Me                                 PA 1-896-439                                 Universal
Marvin's Room                            PA 1-788-784; PA 1-793-876                   Universal
Me and My Guitar                         PA 2-295-011                                 Reservoir
Me And Your Mama                         PA 2-063-050                                 Universal
Me Too                                   PA 2-068-772                                 Universal
Me, Myself & I                           PA 2-090-076                                 Universal
Me, Myself, and I                        PA 1-208-969                                 Reservoir
Meant To Be                              PA 2-105-522                                   Spirit
Meet Me Halfway                          PA 1-686-136                                 Reservoir
Mercy                                    PA 2-082-652; PA 2-020-969              Hipgnosis; Universal
Mercy.1                                  PA 1-913-931                                 Universal
Metal                                    exempt                                       Hipgnosis
Mi Gente                                 PA 2-236-423                                 Universal
Middle Child                             PA 2-185-641                                 Reservoir
Midnight Sky                             PA 2-268-897                                 Reservoir
Milkshake                                PA 1-158-583                                 Universal
                                         PA 2-084-003; PA 2-081-449; PA 2-119-
Million Reasons                          030                                       Concord Music
Mirrors                                  PA 1-843-851                                Universal
Missing                                  PAu 2-789-152                               Reservoir
                                         EU 170621; RE 780-128; EP 275560;
Mississippi Queen                        RE 780-385                                   Universal
                                         EP 84131; RE 116-499; EU 361400; RE
Mister Sandman                           118-016                                       MPL
Mistletoe                                PA 1-780-233                                Universal
Mmm Yeah                                 PA 1-917-636                                Universal
Monophobia (Feat. Rob Swire)             PA 2-294-838                            Zimmerman; Kobalt
Monster Mash                             EU 737324; EP 313582; RE 474-679            Reservoir
Monster, The                             PA 1-965-626                                Universal
Mooo!                                    PA 2-289-604                                Reservoir
More Than A Feeling                      EU 625326; EU 706122; EP 368076             Universal
                                         EU 761685; PAu 118-215; PAu 618-
                                         255; EP 377416; PA 37-370; PA 209-
More Than A Woman                        607                                          Universal

Most Beautiful Girl In The World, The    PAu 1-832-359; PA 692-506                    Universal
Mother's Little Helper                   EP 274943; EU 922163; RE 662-929              ABKCO
Motive                                   PA 2-268-906                                 Reservoir
Moves                                    PA 2-070-662                                 Universal
Moves Like Jagger                        PA 1-801-572                                 Universal
Mr. Brightside                           PA 1-349-355                                 Universal
Muddy Waters                             PA 2-063-585                                 Universal

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
            Title of Work                      Copyright Registration No.           Plaintiff(s)*
My Boy                                   PA 2-183-774                                Universal
My Demons                                PA 1-974-388                              Concord Music
My Favorite Things                       EP 134313; PA 1-319-165                   Concord Music
My Funny Valentine                       EP61055; R333857                          Concord Music
My Immortal                              PA 1-152-551                                Reservoir
My Last Breath                           PA 1-152-557                                Reservoir
My Love                                  EU 98880; RE 840-028                           MPL
My Love                                  PA 1-165-055                                Universal
My Opinion                               PA 2-069-309                            Zimmerman; Kobalt
                                         PA 518-057; PA 400-857; PA 422-094;
My Prerogative                           PA 446-461                                  Universal
My Shot                                  PA 1-989-276; PA 1-398-329                  Universal
                                         EU 212236; RE 782-134; EP 283208;
My Sweet Lord                            RE 793-147                                Concord Music
My Type                                  PA 2-192-082                                Reservoir
Narcos                                   PA 2-122-839; PA 2-130-081                  Universal
Natural                                  PA 2-147-040                                Universal
Nav                                      PA 2-115-235                                Universal
Neutron Dance                            PA 202-232                                  Universal
Never Be The Same                        PA 2-182-392                                  Spirit
New Americana                            PA 2-059-974                                Universal
New Divide                               PA 1-677-173                                Universal
New Face                                 PA 2-142-088                                Universal
New Flame                                PA 2-052-785                                Universal
Nice For What                            PA 2-230-647                                Universal
Nieves De Enero                          EF 28653; R648588                             Peer
Niggas In Paris                          PA 1-816-380                                Universal
Nights With You                          PA 2-230-647; PA 2-148-487                  Universal

Nineteen Hundred And Eighty Five         EU 454349; RE 864-539                         MPL
Ninety-Six Tears (96 Tears)              EU 963169; RE 654-996                        ABKCO
No Brainer                               PA 2-171-844                                Universal
No Broken Hearts                         PA 2-074-858                                Universal
No Diggity                               PA 839-312                                  Universal
No Frauds                                PA 2-084-540                                Universal
No Limit                                 PA 2-076-944                                Universal
                                         PA 2-037-347; PA 2-064-688; PA 2-239-
No Money                                 005                                       Concord Music
No More Sorrow                           PA 1-167-576; PA 1-602-921                  Universal
No Pressure                              PA 2-009-770                                Universal
No Problem                               SR 797-434; PRE 009-229                 Zimmerman; Kobalt
No Problem                               PA 2-072-831                                Reservoir

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
             Title of Work                     Copyright Registration No.           Plaintiff(s)*
No Promises                              PA 2-085-720                                Universal
No Role Modelz                           PA 1-975-907                                Universal
No Sense                                 PA 2-083-497                                Universal
No Vaseline                              PA 1-100-340                                Universal
Nobody's Listening                       PA 1-256-420                                Universal
Non, Je Ne Regrette Rien                 EF 29988; RE 394-569                        Reservoir
Nosedive                                 PA 2-294-756                            Zimmerman; Kobalt
Not Fade Away                            EU 498473; RE 251-159                          MPL
Nothing Compares 2 U                     PA 261-000                                  Universal
Now And Later                            PA 2-096-995; PA 2-216-974                  Universal
Now Or Never                             PA 2-113-458                                Universal
Numb                                     PA 1-256-412                                Universal
Nuthin' But A G Thang                    PA 683-749                                  Universal
Ocean Avenue                             PA 1-158-187                                Universal
Ocean Front Property                     PA 320-198                                  Universal
Oh Daddy                                 EU 713075; RE 904-500                       Universal
Old Time Rock & Roll                     EP 375950; RE 931-306                          Peer
Old Town Road (Remix)                    PA 2-189-628                                Universal
On Top Of The World                      PA 1-796-480                                Universal
One Dance                                PA 2-268-917                                Universal
One Kiss                                 PA 2-150-084                                Universal
One More Light                           PA 2-085-244                                Universal
One More Night                           PA 1-810-344                                Universal
One Night                                PA 2-191-513                                Universal
One Number Away                          PA 2-084-954; PA 2-142-410                Concord Music
One Step Closer                          PA 1-092-507                                Universal
One Thing                                PA 1-195-794                                Reservoir
One Time                                 PA 2-020-173                                Universal
Open Arms                                PA 111-977                                  Hipgnosis
Ophelia                                  PA 2-060-672                                  Kobalt
Orange Crush                             PA 417-645                                  Universal
Other Side, The                          PA 1-850-843; PA 1-896-442                  Universal
Oui                                      PA 2-062-913                                Universal
Out Of Time                              EP 274942; EU 951558; RE 662-944             ABKCO
Outrageous                               PA 1-158-594                                Universal
                                         PA 1-732-164; PA 1-720-829; PA 1-764-
Over                                     236                                         Universal
Paint It Black                           EP 274904; EU 938855; RE 662-938             ABKCO
Panini                                   PA 2-220-460                                Universal
Papercut                                 PA 1-092-506                                Universal
Paralyzer                                PA 1-372-683                                Reservoir
Part Of Me                               PAu 3-574-141                             Concord Music

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
            Title of Work                      Copyright Registration No.               Plaintiff(s)*
Party                                    PA 2-074-473                                    Universal
Party Favor                              PA 2-183-759                                    Universal
Party Hard                               PA 1-105-771                                    Universal
Party Rock Anthem                        PA 1-824-164                                    Universal
Pata Pata                                EP 238344; RE 887-080                         Concord Music
Payphone                                 PA 1-810-822                                    Universal
                                         PA 1-991-022; PA 2-004-255; PA 1-999-
Peanut Butter Jelly                      867; PA 2-087-569                        Concord Music; Universal
Peg                                      EU 811349; EP 380417; RE 910-218                Universal
Perm                                     PA 2-070-323                                    Universal
Photograph                               PA 2-158-284                                      Spirit
Pick Up The Phone                        PA 2-065-781                                 Concord Music
Pinball Wizard                           EU 109526; RE 744-870                             Spirit
Pitches Love Me                          PA 2-294-766                               Zimmerman; Kobalt
Place For My Head, A                     PA 1-092-514                                    Universal
                                         EP 296921; EU 874314; RE 662-376;
Play With Fire                           PAu 1-489-708                                    ABKCO
                                         EU 351083; EP 86776; RE 141-639; RE
Pledging My Love                         189-990                                          Universal
Points Of Authority                      PA 1-092-509                                     Universal
Polyphobia                               PA 2-294-805                                Zimmerman; Kobalt
                                                                                 Concord Music; Zimmerman;
Pomegranate                              PA 2-293-379                                      Kobalt
Pony                                     PA 865-915; PA 839-501                           Reservoir
Portland                                 PA 2-120-709                                     Universal
Post To Be                               PA 2-045-080                                     Universal
pov                                      PA 2-269-033                                     Reservoir
Power                                    PA 2-065-784                                     Universal
Power                                    PA 2-080-834                                     Universal
Pretty Girls                             PA 1-993-004                                     Universal
Promiscuous                              PA 1-164-460; PA 1-367-878                  Reservoir; Universal
Provide Feat Chris Brown & Mark
Morrison                                 PA 2-293-012                                  Concord Music
Pullin Up                                PA 2-018-334; PA 2-050-926                      Universal
Pump It Harder                           PA 1-723-093                                    Universal
Pure Water                               PA 2-177-065                                    Universal
Purple Rain                              PAu 613-664; PA 217-254                         Universal
Pusher Love Girl                         PA 1-843-849                                    Universal
Pushing Me Away                          PA 1-092-517                                    Universal
Queen's Speech 5                         PA 2-085-682                                      Spirit
Radioactive                              PA 1-796-477                                    Universal
Raf                                      PA 2-139-770                                    Universal

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
              Title of Work                    Copyright Registration No.              Plaintiff(s)*
Rain On Me                               PA 2-282-535; PA 2-283-423                  Concord Music
Raining Blood                            PA 343-127                                     Universal
Raspberry Beret                          PA 255-668; PAu 705-005                        Universal
Rave On                                  EU 506585; RE 251-148                              MPL
Ready Or Not                             PA 809-404; PA 1-824-069                       Reservoir
Real Wild Child                          EU 514372; EP 122746; RE 291-552                   MPL
Redbone                                  PA 2-063-056                                   Universal
Reeling In The Years                     EU 353008; RE 823-112                          Universal
Remember The Name                        PA 1-163-444                                   Universal
Reminder                                 PA 2-082-970                                   Universal
Renegade                                 PA 16-571                                      Universal
Renegades                                PA 1-995-174                                   Universal
Replay                                   PA 1-888-070; PA 1-860-099                  Spirit; Universal
Revelations 19:1                         PAu 728-420                                        Peer
Rhythm Of The Night                      PA 244-263; PA 244-350                         Universal
Ric Flair Drip                           PA 2-106-881                                   Reservoir

Riders In The Sky (A Cowboy Legend)      EP 35345; R629764                                MPL
Ridin                                    PA 1-317-544                                   Universal
Right Here                               PA 1-850-381                                   Universal
Ring of Fire                             EP 167400; RE 498-587                          Reservoir
Ripped Pants                             PA 1-015-906                                   Universal
River                                    PA 2-023-410                                   Universal
Rock Your Body                           PA 1-133-266                                   Universal
Rocky Mountain High                      PAu 3-059-749                                  Reservoir
                                         EP 317928; RE 834-982; EU 416549;
Rocky Mountain Way                       RE 837-425                                    Universal
Rolex                                    PA 1-937-660                                  Universal
Roller Coaster                           PA 2-238-861                                  Hipgnosis
Rollin' (Air Raid Vehicle)               PA 1-034-554                                  Universal
Romeo And Juliet                         PA 86-719                                     Universal
Rosanna                                  PA 145-697                                      Spirit
Ruby Tuesday                             EP 274898; EU 979080; RE 687-141               ABKCO
Ruff Ryder's Anthem                      PA 707-220                                    Universal
Run                                      PA 1-994-133                                  Universal
Run It!                                  PA 1-299-253; PA 1-286-202                    Reservoir
Run Through The Jungle                   EU 173738; RE 667-202                       Concord Music
Run-Around                               PA 734-714                                  Concord Music
Runaway                                  PA 1-092-511                                  Universal
                                         PA 1-987-640; PA 1-999-881; PA 2-087-
Runaway (U & I)                          567                                     Concord Music; Universal
Sabor A Mi                               EFO 69209; RE 339-844                            Peer

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                  Exhibit A
                                 Examples of Plaintiffs' Musical Compositions
                                             Infringed by Roblox
           Title of Work                       Copyright Registration No.          Plaintiff(s)*
Safety Dance, The                        PA 413-304; PA 444-999                     Universal
Sandstorm                                PA 981-355                                 Universal
                                         EP 205954; EU 887593; PAu 2-548-
Satisfaction, (I Can't Get No)           510; RE 607-110; RE 607-121                  ABKCO
Satisfied                                PA 2-203-202                        Concord Music; Hipgnosis
Savage (Feat. Beyonce)                   PA 2-251-048                            Concord Music
Saved                                    PA 2-294-758                          Zimmerman; Kobalt
Say Say Say                              PA 190-207; PA 213-996                        MPL
Say Something                            PA 1-846-423; PA 1-297-885                 Universal
Say You Won't Let Go                     PA 2-065-909; PA 2-085-493                 Universal
Scared Of Lonely                         PA 1-621-894                               Hipgnosis
Scars To Your Beautiful                  PA 2-100-489                               Universal
Scatman                                  PA 839-183; PA 852-053                     Universal
Season Of The Witch                      EU 956775; RE 654-984                         Peer
Secret Love Song                         PA 2-096-071                               Universal
Seinfeld - Theme                         PA 475-198                                 Universal
Senorita                                 PA 2-227-642                               Reservoir
Separate Ways                            PAu 425-539                                Hipgnosis
Sequence, The                            PA 2-061-650                               Universal
Session                                  PA 1-256-413                               Universal
Seven Wonders                            PA 332-444                                 Universal
Seventeen                                PA 2-065-814                               Universal
Sexy Boy                                 PA 970-121                                 Universal
SexyBack                                 PA 1-165-048                          Reservoir; Universal
Shallow                                  PA 2-149-916; PA 2-200-558              Concord Music
Shape Of You                             PA 2-158-357                                  Spirit
She Got The Best Of Me                   PA 2-196-155                              Big Machine
Shook Ones Pt. I                         PA 845-840                                 Universal
Shooting Star                            PA 1-821-130                               Universal
Shots                                    PA 1-999-933                               Universal
Show You                                 PA 1-936-470                               Universal
Sicko Mode                               PA 2-235-722; PA 2-253-353          Concord Music; Universal
Sign 'O' The Times                       PA 322-108                                 Universal
Sign Of The Times                        PA 2-085-488                               Universal
Sigo Extranandote                        PA 2-055-801                               Universal
                                         EU 448563; RE 844-239; EU 448563;
Simple Man                               RE 851-734; PA 373-493                     Universal
Since I Don't Have You                   EP 129827; RE 293-874                        Peer
Single Ladies (Put A Ring On It)         PA 1-672-219                                 Peer
Sister Christian                         PA 223-041                               Concord Music
Slide                                    PA 2-077-758                               Universal
Slippery                                 PA 2-083-325                               Universal

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
             Title of Work                     Copyright Registration No.           Plaintiff(s)*
Slippery (Feat. Gucci Mane)              PA 2-089-448                              Concord Music
Slow Ride                                EU 628839; RE 880-208                     Concord Music
Smack That                               PA 1-396-085                                Universal
Snap Yo Fingers                          PA 1-339-272                                Reservoir
Snowcone                                 SR 797-434; PRE 009-229                 Zimmerman; Kobalt
So Far Away                              PA 253-319                                  Universal
Solo                                     PA 2-177-702                                Universal
Somb                                     PA 2-294-771                            Zimmerman; Kobalt
Something Big                            PA 1-938-374                                Hipgnosis
Sometimes                                PA 932-239                                  Universal
Somewhere I Belong                       PA 1-256-410                                Universal
Somewhere Only We Know                   PA 1-160-739                                Universal
Songbird                                 EU 772678; EP 373132                        Universal
Sorry                                    PA 2-083-542                                Universal
Sorry For Party Rocking                  PA 1-824-163                                Universal
Sorry Not Sorry                          PA 2-099-343                                Reservoir
Sound Of Da Police                       PA 711-682                                  Universal
Soy Yo                                   PA 2-250-737                                Hipgnosis
Splashin                                 PA 2-175-784                              Concord Music
Spongebob Squarepants Theme              PA 1-015-908                                Universal
Starboy                                  PA 2-082-942                                Universal
Started From The Bottom                  PA 1-893-532                                Universal
State Of My Head                         PA 2-052-644; PA 2-052-089                  Universal

Staying Alive                            EU 761684; PAu 618-264; PAu 159-820          Universal
Step Off                                 PA 1-843-675                                 Universal
Stereo Hearts                            PA 1-779-603                                 Universal
Still D.R.E.                             PA 1-012-565                                 Reservoir
Stir Fry                                 PA 2-122-824                            Reservoir; Universal
Stitches                                 PA 1-993-016                                 Hipgnosis
Strangers                                PA 2-113-525                                 Universal
Straw-Buh-Buh-Buh-Buh-Berry
Shortcake                                PA 1-303-249                                 Universal
                                         EP 274930; EU 70720; RE 721-964; RE
Street Fighting Man                      722-022                                       ABKCO
Strutter                                 EU 456885; RE 853-183                        Universal
                                         PA 2-244-269; PA 2-251-557; PA 2-283-
Stupid Love                              446                                       Concord Music
Sucker For Pain                          PA 2-076-970                                Universal
Suga Suga                                PA 1-281-057                                Universal
Sugar                                    PA 1-947-805                                Universal
Sugar (Feat. Wynter) (Radio Edit)        PA 1-744-939                                Universal

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
             Title of Work                     Copyright Registration No.       Plaintiff(s)*
Suit & Tie                               PA 1-843-846                            Universal
Sultans Of Swing                         PA 23-967                               Universal
Summer Nights                            EP 299484; RE 826-139                      MPL
Summer Of '69                            PA 238-134                              Universal
Sunglasses At Night                      PAu 539-648                                Peer
Sunny Afternoon                          EFO 116035                               ABKCO
Super Bass                               PA 1-852-528; PA 1-733-269                 Peer
Superlove (Ft. Oh Wonder)                PA 2-181-904                          Concord Music
Superman                                 PA 20-921                               Universal
Supermarket Flowers                      PA 2-089-018; PA 2-148-361                Spirit
Surfin' Bird                             EU 820386                               Universal
Survival                                 PA 1-965-032                            Universal
Swallah                                  PA 2-081-025                            Universal
Sweatpants                               PA 1-984-001                            Universal
                                         EP 277256; RE 748-468; EU 121-797;
Sweet Caroline                           RE 748-767                               Universal
                                         EU 511375; EP333360; RE 857-056; RE
Sweet Home Alabama                       862-377                                 Universal
Swervin                                  PA 2-290-707                            Reservoir
Swish Swish                              PA 2-096-967                          Concord Music
                                         EP 274928; EU75421; RE 721-962; RE
Sympathy For The Devil                   722-024                                    ABKCO
T Shirt                                  PA 2-083-293                             Universal
Taco Tuesday                             PA 2-250-148                             Reservoir
Take A Bow                               PA 1-692-696                             Universal
Take Me Home, Country Roads              EU 238954; RE 653-070                    Reservoir
Take Me With U                           PA 217-249                               Universal
Take The Long Way Home                   PA 32-064                                Universal
Take Your Time                           PA 1-969-723; PA 1-927-496            Spirit; Universal
Talk Dirty                               PA 1-896-440                             Universal
Tangled Up                               PA 1-887-519                             Universal
Taste                                    PA 2-162-961                             Reservoir
Tattooed Heart                           PA 1-881-406                             Universal
Te Bote (Remix)                          PA 2-197-460                             Universal
Telepatia                                PA 2-291-776                          Concord Music
Telephone                                PA 1-751-977                             Hipgnosis
Thank God I'm A Country Boy              EU 469657; RE 861-042                    Reservoir
That Part                                PA 2-147-246                             Universal
That's Life                              EU 833467; RE 571-011; RE 573-177        Universal
That's What I Like                       PA 2-070-329                             Universal
The Christmas Song (Chestnuts
Roasting On An Open Fire)                EP 9190; R567906; R581558                   MPL

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                  Exhibit A
                                 Examples of Plaintiffs' Musical Compositions
                                             Infringed by Roblox
            Title of Work                      Copyright Registration No.           Plaintiff(s)*
The Glory of Love                        EU 120271; EP 54655                         Reservoir
The Great Pretender                      EP 95703; RE 166-522                           Peer
The Land Of Lola                         PA 1-881-443                                  Spirit
The Way Life Goes                        PA 2-176-343; PA 2-229-048               Concord Music
There Was This Girl                      PA 2-135-434                                   Peer
There's Nothing Holdin' Me Back          PA 2-131-804                           Hipgnosis; Universal

These Boots Are Made For Walkin'         EU 915461; RE 612-396                      Universal
They Don't Know                          PA 2-114-957                               Universal
Thousand Miles, A                        PA 1-102-367; PA 1-287-368                 Universal
Three Little Birds                       EU 797352; RE 541-765                      Universal
Three Pound Chicken Wing                 SR 797-434; PRE 009-229                Zimmerman; Kobalt
Through The Years                        PAu 300-262                                Universal
Throw Sum Mo                             PA 1-986-485                               Universal
Thugz Mansion                            PA 1-115-087                               Universal
Thunder                                  PA 2-113-702                               Universal
Thunder Rolls, The                       PA 403-216                                 Universal
Tie A Yellow Ribbon 'Round The Ole
Oak Tree                                 EU 347522; RE 828-700                         Peer
                                         EU 904124; RE 608-264; EP 207881;
Tijuana Taxi                             RE 608-222                                 Universal
Time                                     PA 1-732-104                               Universal
Tints                                    PA 2-161-191                               Universal
Tokyo Drift (Fast And Furious)           PA 1-634-783                               Universal
Tomorrow                                 EP 375544; PA 62-290; RE 918-277             MPL
Too Young                                PA 2-163-355                               Universal
Toosie Slide                             PA 2-251-097                             Concord Music
Towards The Sun                          PA 1-986-643                               Universal
                                         PAu 618-225; PA 42-318; PA 23-833;
Tragedy                                  PA 209-364                                  Universal
Treat You Better                         PA 2-082-557                           Hipgnosis; Universal
Trip                                     PA 2-162-412                                  Peer
True Love                                PA 1-817-461                                Universal
Trumpets                                 PA 1-896-437                                Universal
T-Shirt                                  PA 2-073-629                                Reservoir
Tuesday (Club Goin Up)                   PA 1-951-061                                Universal
Tuesday's Gone                           EU 448561; RE 851-732                       Universal
Turn On The Lights                       PA 1-856-326                                Universal
Twist And Shout                          EP 186463; RE 606-279                         MPL
                                         EP 161274; EU 701315; RE 475-431;
Twistin' The Night Away                  RE 475-433                                   ABKCO
U Got The Look                           PA 339-613                                  Universal

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
             Title of Work                     Copyright Registration No.            Plaintiff(s)*
Umbrella                                 PA 1-355-560                                    Peer
Unanswered Prayers                       PA 455-934; PA 514-940                       Universal
Undead                                   PA 1-793-059                                 Universal
Under My Thumb                           EP 274945; EU 951553                          ABKCO
Unforgettable                            PA 2-084-510                                 Universal
Uninvited                                PA 921-947                                   Universal
Up Around The Bend                       EU 173739; RE 667-203                     Concord Music
Up Like Trump                            PA 1-986-483                                 Universal
Uptown Funk                              PA 1-935-952; PA 1-938-200                Concord Music
Versace On The Floor                     PA 207-0322                                  Universal
Waiting For The End                      PA 1-725-611                                 Universal
Wake Me Up                               PA 1-932-520; PA 1-899-727                   Universal
Walk It Talk It                          PA 2-181-710                                 Reservoir
Walk Like An Egyptian                    PA 278-841                                      Peer
Walk Of Life                             PA 253-319                                   Universal
Walking On A Dream                       PA 2-081-713                                 Universal
Walking With Dinosaurs                   exempt                                    Concord Music
Walls Could Talk                         PA 2-113-518                                 Universal
Wannabe                                  PA 823-685                                   Universal
Want To Want Me                          PA 2-045-068                            Hipgnosis; Universal
Warmth Of The Sun, The                   EU 818197; RE 574-313                        Universal
Watch Me                                 PA 2-014-703                                    Peer
Watching You                             PA 1-323-481                                 Reservoir
Watermelon Sugar                         PA 2-250-681; PA 2-265-071                Concord Music
Waves                                    PA 2-088-716                                 Universal
Way I Are (Dance With Somebody),
The                                      PA 2-090-724                                 Universal
Way, The                                 PA 1-881-410                                 Universal
We Are                                   PA 1-861-559                                 Universal
We Are Bulletproof: The Eternal          PA 2-243-115                                 Universal
                                         PA 1-276-066; PA 1-163-150; PA 1-287-
                                         902; PA 1-289-348; PA 1-162-027; PA
We Belong Together                       1-285-727                                     ABKCO
We Built This City                       PA 265-529; PA 264-311                       Universal
We Dem Boyz                              PA 1-982-318; PA 1-937-716                   Universal
We Make It Bounce                        PA 1-991-136                                 Universal
We Need A Little Christmas               EP 220560; RE 656-307                          MPL
Welcome To My Nightmare                  EU 552511; RE 875-717; RE 878-852              Spirit
We're Not Gonna Take It                  PA 226-789                                   Universal
What Do You Mean                         PA 1-996-404; PA 2-083-524                   Universal
What Goes Around                         PA 1-165-051; PA 1-780-251                   Universal
What I Got                               PA 813-740                                   Universal

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
             Title of Work                     Copyright Registration No.            Plaintiff(s)*
                                         PA 1-167-574; PA 1-602-911; PA 1-708-
What I've Done                           260                                         Universal
Whatcha Say                              PA 1-712-977                                Universal
What's My Name                           PA 1-741-634                                   Peer
What's Your Name                         EU 853395; RE 910-337                       Universal
When Doves Cry                           PAu 609-914; PA 220-373                     Universal
When It Rains It Pours                   PA 2-084-933                               Big Machine
When We Were Young                       PA 2-045-553                                Universal
Where Are U Now                          PA 2-083-643                                Universal
Where Have You Been                      PA 1-785-178                                Universal
Where Is My Mind?                        PA 608-974                                  Universal
                                         PA 1-249-866; PA 1-220-894; PA 1-158-
Where Is The Love?                       849                                     Reservoir; Universal
Where The Green Grass Grows              PA 886-121                                   Universal
Where Ya At                              PA 1-990-184                                 Universal
While My Guitar Gently Weeps             EF 33265; RE 746-835                      Concord Music
White Flag                               PA 1-131-977                                   Spirit
Who Are You                              PAu 51-060; PA 38-596                          Spirit
Who'll Stop The Rain                     EP 271324; EU 156192; RE 667-201          Concord Music
Why Generation                           PA 2-161-846                                 Hipgnosis
Why You Wanna Treat Me So Bad            PA 64-965; PA 238-841                        Universal
Wild Things                              PA 2-100-484                                 Universal
Wings                                    PA 1-895-347                                 Universal
With Arms Wide Open                      PA 969-200                                   Reservoir
                                         PA 2-181-449; PA 2-185-008;
Without Me                               PA 2-193-586                            Reservoir; Universal
Wolves                                   PA 2-095-349                                 Reservoir
Womanizer                                PA 1-888-788                                 Universal
Wonderful Christmastime                  PAu 154-113; PA 52-301                         MPL
                                         EP 143015; EP 143803; EU 567694; RE
Wonderful World, (What A)                361-641; PAu 819-609                          ABKCO
Won't Get Fooled Again                   EP 289128; RE 707-760                          Spirit
Word Up                                  PA 321-203; PAu 890-600                      Universal
Work                                     PA 1-981-018                                 Universal
Work                                     PA 2-103-251                                 Universal
Work (Put It In)                         PA 1-753-428                                 Reservoir
Work Bitch                               PA 1-917-953                                 Universal
Work From Home                           PA 2-060-658                                 Universal
World Is Yours, The                      PA 921-809                                   Universal
Worst Behavior                           PA 1-967-813                                 Universal
Wouldn't It Be Nice                      EU 948191; RE 662-433                        Universal
X Gon Give It To Ya                      PA 2-031-806                                 Universal

* Plaintiffs and Plaintiff groups as defined in the Complaint.

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                                                 Exhibit A
                                Examples of Plaintiffs' Musical Compositions
                                            Infringed by Roblox
            Title of Work                      Copyright Registration No.       Plaintiff(s)*
Xanny                                    PA 2-190-160                            Universal
Yeah 3X                                  PA 1-750-521                            Universal
You And Me                               PA 1-916-093                            Universal
You Are My Sunshine                      EP 83392; R403741                          Peer
You Are Not Alone                        PA 789-976                              Universal
You Da One                               PA 1-778-697                            Universal
You Give Love A Bad Name                 PA 305-251; PAu 872-473                 Universal
You Know You Like It (DJ Snake
Version)                                 PA 1-906-019                            Universal

You Make Lovin Fun                       EU 713071; RE 904-490; PA 1-162-955     Universal
You Oughta Know                          PA 705-728                            Concord Music
You Raise Me Up                          PA 1-133-116                               Peer
You Send Me                              EP 276312; EU 491316; RE 713-603         ABKCO
You Should See Me In A Crown             PA 2-173-035                            Universal
You'll Never Walk Alone                  EP 137430; R560330                    Concord Music
Young, Wild & Free                       PA 1-818-483                            Universal
Youngblood                               PA 2-122-817                            Reservoir
Your Man                                 PA 1-163-481                               Spirit
Yummy                                    PA 2-230-613                          Peer; Universal
Zeze                                     PA 2-181-471                            Reservoir




* Plaintiffs and Plaintiff groups as defined in the Complaint.

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